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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

  FEDERATION OF AMERICANS              §
  FOR CONSUMER CHOICE, INC.;           §
  JOHN LOWN d/b/a LOWN                 §
  RETIREMENT PLANNING;                 §
  DAVID MESSING; MILES                 §
  FINANCIAL SERVICES, INC.; JON        §
  BELLMAN d/b/a BELLMAN                §
  FINANCIAL; GOLDEN AGE                §
  INSURANCE GROUP, LLC;                §
  PROVISION BROKERAGE, LLC;            §
  and V. ERIC COUCH,                   §
                                       §
         Plaintiffs,                   §
                                       §
  v.                                   §     Case No. 3:22-cv-00243-K-BT
                                       §
  UNITED STATES DEPARTMENT             §
  OF LABOR and MARTIN J.               §
  WALSH, in his official capacity as   §
  SECRETARY OF LABOR,                  §
                                       §
         Defendants.                   §

        FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS
           OF THE UNITED STATES MAGISTRATE JUDGE

       Plaintiffs the Federation of Americans for Consumer Choice, Inc. (the

“FACC”) and several of its members bring this challenge under § 706 of the

Administrative Procedures Act (APA) asking the Court to vacate and set aside

Defendants the United States Department of Labor (the “DOL”) and Secretary of

Labor Martin J. Walsh’s new interpretation of the agency’s five-part test to

determine whether financial professionals are acting as “investment advice

fiduciaries” under the Employee Retirement Income Security Act of 1974 (ERISA)

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and the Internal Revenue Code (the “Code”) in the context of recommendations to

roll over assets from an employee benefit plan to an individual retirement account

(IRA).

      The DOL promulgated the five-part test in a 1975 regulation which outlines

when financial professionals are considered investment advice fiduciaries under

ERISA. The DOL currently takes the position that if a financial professional advises

a participant to roll assets out of an employee benefit plan, then such advice is

related to the sale, withdrawal, or transfer of plan assets; therefore, the financial

professional is an ERISA fiduciary—if other conditions of the five-part test are

satisfied. Consistent with this position, the DOL adopted a prohibited transaction

exemption (PTE) under ERISA and the Code, PTE 2020-02, that requires, in

addition to other compliance conditions, investment advice fiduciaries to render

advice that is in the employee benefit plan participants’ best interest in order to

receive compensation that would otherwise be prohibited in the absence of an

exemption. PTE 2020-02 expressly covers prohibited transactions resulting from

rollover advice, as well as advice on how to invest assets within a plan or IRA. The

DOL is especially concerned with rollover recommendations as it believes the

decision to roll over assets from a plan to an IRA is often the single most important

financial decision an employee benefit plan participant makes. According to the

DOL, rollovers involve a lifetime of retirement savings, and financial services

providers often have a strong economic incentive to recommend that retirement



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investors roll assets out of employee benefit plans into one of the financial

professional’s institution’s IRAs.

      While the Court may view the DOL’s new interpretation as part of the

agency’s well-intentioned efforts to update its regulations to ensure that fiduciary

advice providers adhere to stringent standards designed to ensure that investment

recommendations by financial institutions and professionals reflect the best

interests of plan and IRA investors, the Court must also recognize that other

similar agency efforts have not held up well under judicial scrutiny. Five years ago,

the United States Court of Appeals for the Fifth Circuit vacated the DOL’s revised

definition of an investment advice fiduciary to include all financial professionals

who give advice to roll assets out of a plan to an IRA. Chamber of Com. v. U.S.

Dep’t of Lab. (Chamber II), 885 F.3d 360 (5th Cir. 2018).1 And earlier this year,

the United States District Court for the Middle District of Florida, Tampa Division,

issued an opinion in which the court vacated the policy referenced in Frequently

Asked Question (FAQ) 7 in the New Fiduciary Rule Advice Exemption FAQs which

extended the five-part test to a recommendation to roll plan assets to an IRA, in

the context of an ongoing advice relationship. Am. Sec. Ass’n v. U.S. Dep’t of Lab.,

2023 WL 1967573 (M.D. Fla. Feb. 13, 2023).




1The Fifth Circuit’s decision is referred to throughout these findings, conclusions,
and recommendations in text as “Chamber of Commerce,” but in citations as
“Chamber II.”
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      As explained below, Plaintiffs have standing to bring their challenge, and

therefore the Court should DENY Defendants’ Motion to Dismiss for Lack of

Jurisdiction (ECF No. 39).

      Further, based on ERISA’s text and purpose, coupled with the common law

understandings of fiduciary relationships, the Court should find the DOL’s new

interpretation of the five-part test narrowly conflicts with ERISA and the DOL’s

own regulations. In view of this conflict, the Court should conclude that the DOL

exceeded its statutory authority in promulgating the new interpretation and that

the new interpretation is an arbitrary and capricious interpretation of the five-part

test. Accordingly, the Court should GRANT in part and DENY in part Plaintiffs’

Motion for Summary Judgment (ECF No. 19) and the DOL’s Cross-Motion for

Summary Judgment (ECF No. 39). As explained below, the Court should VACATE

the portions of PTE 2020-02 that permit consideration of actual or expected Title

II investment advice relationships when determining Title I fiduciary status.

                                   Background

 I.   Statutory Framework & Regulatory History

      Congress passed ERISA in 1974 after finding that the “growth in size, scope,

and numbers of employee benefit plans in recent years ha[d] been rapid and

substantial” and there was an inherent “national public interest” to ensure the

“continued well-being and security of millions of employees and their dependents

[who] are directly affected by these plans.” ERISA § 2(a), 29 U.S.C. § 1001(a). In

enacting the statute, Congress comprehensively defined fiduciary standards for

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creating, maintaining, and advising various retirement savings vehicles and

delegated authority to enforce these standards to different agencies. The

provisions of ERISA are grouped into four sections, or Titles. This case requires an

analysis of Title I and Title II.

          A. Title I and Title II Fiduciary Definitions

       Title I regulates employer- or union-sponsored welfare and pension plans.

ERISA §§ 3(1), 4(a), 29 U.S.C. §§ 1002(1), 1003(a). It covers “employee welfare

benefit plan[s],” “welfare plan[s],” “employee pension benefit plan[s],” and

“pension plan[s]” which provide, among other things, medical benefits or

retirement income to employees. ERISA § 3(1)-(2), 29 U.S.C. § 1002(1)-(2). When

dealing with these plans, a person becomes an “investment advice fiduciary”—

subject to Title I fiduciary rules—when that person:

       renders investment advice for a fee or other compensation, direct or
       indirect, with respect to any moneys or other property of such plan, or
       has any authority or responsibility to do so[.]

ERISA § 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii).

       Title II amended the Code and imposed separate restrictions on those who

engage with certain other retirement savings vehicles, such as IRAs. In the relevant

section, the Code defines a “plan” as “an [IRA] described in section 408(a).” 26

U.S.C. § 4975(e)(1)(B). An IRA is “a trust created or organized in the United States

for the exclusive benefit of an individual or his beneficiaries” that meets specific

requirements. 26 U.S.C. § 408(a). Title II also delineates who is a fiduciary with

respect to these plans, noting that an “investment advice fiduciary” is one who:

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      renders investment advice for a fee or other compensation, direct or
      indirect, with respect to any moneys or other property of such plan, or
      has any authority or responsibility to do so[.]

26 U.S.C. § 4975(e)(3).

      So, the definition for an investment advice fiduciary under either Title is the

same; however, the definitions of a covered “plan” are notably different.

         B. Title I and Title II Prohibited Transactions

      Whether (or not) an individual is a fiduciary with respect to a covered plan

has significant implications related to the transactions an individual may engage

in with the plan. Congress expressly found that some transactions with retirement

plans are inherently conflicted and constitute impermissible self-dealing between

fiduciaries and retirement plans. To address these conflicted transactions,

Congress inserted provisions in ERISA, noting that, under Title I, fiduciaries may

not participate in any of these prohibited transactions, stating that:

      A fiduciary with respect to a plan shall not—

      (1) deal with the assets of the plan in his own interest or for his own
          account,

      (2) in his individual or in any other capacity act in any transaction
          involving the plan on behalf of a party (or represent a party)
          whose interests are adverse to the interests of the plan or the
          interests of its participants or beneficiaries, or

      (3) receive any consideration for his own personal account from any
          party dealing with such plan in connection with a transaction
          involving the assets of the plan.

ERISA § 406(b), 29 U.S.C. § 1106(b). If a Title I fiduciary engages in a prohibited

transaction regarding a Title I plan, the DOL or plan participants or beneficiaries


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may bring a civil lawsuit, and the DOL may assess civil penalties. ERISA § 502(a),

(i), 29 U.S.C. § 1132(a), (i).

       ERISA also provides similar restrictions on Title II plans. Title II prohibits

certain transactions between fiduciaries and plans, first defining a “disqualified

person” as “a fiduciary.” 26 U.S.C. § 4975(e)(2)(A). A prohibited transaction under

Title II occurs if a disqualified person receives any “direct or indirect

. . . consideration for his own personal account . . . [when] dealing with the plan in

connection with a transaction involving the income or assets of the plan.” 26 U.S.C.

§ 4975(c)(1)(F). If a Title II disqualified person engages in a prohibited transaction,

the IRS may impose an excise tax—but, unlike Title I, no private right of action is

available. 26 U.S.C. § 4975(a)-(b).

          C. Title I and Title II Fiduciary Duties

       Additionally, Title I fiduciaries are subject to several distinct duties owed to

a covered plan. For instance, a Title I fiduciary is subject to duties of loyalty and

prudence. That is, the fiduciary must:

       discharge his duties with respect to a plan solely in the interest of the
       participants and beneficiaries and—

              (A) for the exclusive purpose of:

                     (i) providing benefits     to   participants   and    their
                         beneficiaries; and

                     (ii) defraying reasonable expenses of administering the
                          plan;

              (B) with the care, skill, prudence, and diligence under the
                  circumstances then prevailing that a prudent man acting
                  in a like capacity and familiar with such matters would use

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                  in the conduct of an enterprise of a like character and with
                  like aims[.]

ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1). “Any person who is a fiduciary with

respect to a plan who breaches any of the responsibilities, obligations or duties

imposed” is “personally liable to make good to such plan any losses to the plan

resulting from each such breach, and to restore to such plan any profits of such

fiduciary which have been made through use of assets of the plan by the fiduciary.”

ERISA § 409(a), 29 U.S.C. § 1109(a). However, a Title II fiduciary is not subject to

statutory duties of loyalty and prudence, and Title II does not give rise to claims

for breach of fiduciary duties like Title I permits.

          D. Regulatory History

      Various federal agencies regulate and enforce different Titles of ERISA. The

DOL enforces Title I, and the Secretary of Labor may “prescribe such regulations

as he finds necessary or appropriate to carry out the provisions” of Title I,

including, “[a]mong other things,” “defin[ing] accounting, technical and trade

terms used in such provisions.” ERISA § 505, 29 U.S.C. § 1135. Under Title I, the

Secretary of Labor may “grant a conditional or unconditional exemption of any

fiduciary or transaction, or class of fiduciaries or transactions, from all or part of

the restrictions imposed by section[] 1106.” ERISA § 408(a), 29 U.S.C. § 1108(a).

Thus, the Secretary of Labor may grant PTEs when the Secretary deems it

appropriate and may impose certain compliance requirements on fiduciaries who

seek to avail themselves of the PTE. In contrast, the IRS primarily enforces Title II



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through its excise tax mechanism. 26 U.S.C. § 4975(a)-(b). But the Secretary of

Labor may also issue PTEs that cover Title II plans. See infra Part I.D.ii.

      In short, the Secretary of Labor may exempt Title I fiduciaries or Title II

disqualified persons from ERISA’s bar on prohibited transactions either through a

conditional or unconditional PTE.

                   i.   The 1975 Five-Part Test for an Investment Advice Fiduciary

      Shortly after the passage of ERISA in 1974, the DOL promulgated a

functional, conjunctive five-part test to clarify which individuals are subjected to

fiduciary status (and their corresponding duties) under ERISA’s investment advice

fiduciary provision for either Title I or Title II plans. 29 C.F.R. § 2510.3–21(c) (Title

I); 26 C.F.R. § 54.4975–9(c) (Title II). The five-part test provides that:

      (1) A person shall be deemed to be rendering “investment advice” to
          an employee benefit plan, within the meaning of section
          3(21)(A)(ii) of [ERISA] and this paragraph, only if:

             (i)   Such person renders advice to the plan as to the value of
                   securities or other property, or makes recommendation as
                   to the advisability of investing in, purchasing, or selling
                   securities or other property; and

             (ii) Such person either directly or indirectly (e.g., through or
                  together with any affiliate)—

                    ....

                    (B) Renders any advice described in paragraph (c)(1)(i)
                        of this section on a regular basis to the plan pursuant
                        to a mutual agreement, arrangement or
                        understanding, written or otherwise, between such
                        person and the plan or a fiduciary with respect to the
                        plan, that such services will serve as a primary basis
                        for investment decisions with respect to plan assets,
                        and that such person will render individualized

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                         investment advice to the plan based on the
                         particular needs of the plan regarding such matters
                         as, among other things, investment policies or
                         strategy, overall portfolio composition, or
                         diversification of plan investments.

29 C.F.R. § 2510.3–21(c) (Title I); see 26 C.F.R. § 54.4975–9(c) (slight

modifications for Title II definition). Thus, under the DOL’s five-part test, an

“investment advice fiduciary” is one who (1) renders advice or makes

recommendations as to the investing in, purchasing, or selling securities or other

property, (2) on a regular basis, (3) pursuant to a written or other mutual

agreement, arrangement, or understanding, (4) which will serve as a primary basis

for investment decisions with respect to plan assets, and (5) that such person will

render individualized investment advice to the plan. 29 C.F.R. § 2510.3–21(c).

      According to the Fifth Circuit, this five-part test “captured the essence of a

fiduciary relationship known to the common law as a special relationship of trust

and confidence between the fiduciary and his client.” Chamber II, 885 F.3d at 365.

The test further echoed the historic distinction between an “‘investment adviser,’

who is a fiduciary regulated under the Investment Advisers Act, and a ‘broker or

dealer’ whose advice is ‘solely incidental to the conduct of his business as a broker

or dealer and who receives no special compensation therefor.’” Id. (quoting 15

U.S.C. § 80b-2(11)). Under this test, “a fiduciary relationship would exist only

if . . . the adviser’s services were furnished ‘regularly’ and were the ‘primary basis’

for the client’s investment decisions.” Id. (quoting 29 C.F.R. § 2510.3–21(c)(1)).

      The DOL’s “five-part test” remained unchanged until 2016.

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                    ii.   Prohibited Transaction Exemptions

        As discussed above, the Secretary of Labor has the authority to issue

exemptions from prohibited transactions penalties for both Title I and Title II

plans.2 ERISA § 408(a), 29 U.S.C. § 1108(a). The Secretary of Labor may grant a

PTE if the exemption is “(1) administratively feasible, (2) in the interests of the

plan and of its participants and beneficiaries, and (3) protective of the rights of

participants and beneficiaries of such plan.” ERISA § 408(a)(1)-(3), 29 U.S.C.

§ 1108(a)(1)-(3).

        For example, in 1984, the DOL issued PTE 84-24. See 49 Fed. Reg. 13208

(April 3, 1984). PTE 84-24 exempted certain transactions between Title I or Title

II plans and insurance companies/agents/brokers or 1940 Act 3 investment

companies, where the seller of the financial product would receive commissions in

connection with a plan’s purchase of insurance or annuity contracts. Id. at 13211.

The exemption required covered entities to comply with certain conditions,

including that the seller must only act in the ordinary course of business with the

plan and give terms that were at least as favorable to the plan as an arm’s-length

transaction with an unrelated party would be. Id.




2 After President Carter’s reorganization plan in 1978 and ratification by Congress
in 1984, the Secretary of Labor gained the ability to authorize and grant PTEs for
both Title I and Title II plans. Act of Oct. 19, 1984, Pub. L. No. 98-532, § 1, 98 Stat.
2705, 2705.

3   The “1940 Act” refers to the Investment Company Act of 1940.
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                iii.   The 2005 Deseret Letter Regarding Rollovers

      In 2005, the DOL issued Advisory Opinion 2005-23A in response to an

inquiry about whether “a recommendation that a [Title I plan] participant roll over

his or her account balance to an [IRA] to take advantage of investment options not

available under the plan constitute[s] investment advice with respect to plan

assets.” Advisory Opinion 2005-23A (December 7, 2005) [hereinafter Deseret

Letter].4 This opinion, termed the “Deseret Letter,” stated that it was the DOL’s

view that “merely advising a plan participant to take an otherwise permissible plan

distribution, even when that advice is combined with a recommendation as to how

the distribution should be invested, does not constitute ‘investment advice’” under

ERISA because the DOL did “not view a recommendation to take a distribution as

advice or a recommendation concerning a particular investment.” Id. (emphasis

added). The Deseret Letter further viewed “recommendations by someone who is

not connected with the plan” as insufficient to confer fiduciary status and thus “a

person making such recommendations . . . would not engage in an act of self-

dealing if he or she advises the participant to roll over” Title I plan assets into a

Title II IRA, even if that IRA “will pay management or other investment fees to

such person.” Id. (emphasis added).

      This advisory letter remained in effect until June 29, 2020.




4  The full text of the Deseret Letter is also available online                    at
https://www.dol.gov/agencies/ebsa/about-ebsa/our-activities/resource-
center/advisory-opinions/2005-23a.
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          E. The 2016 Fiduciary Rule and the Fifth Circuit’s Chamber of
             Commerce Decision

      In 2016, the DOL recognized that the market for retirement savings had

“undergone a dramatic shift both in the degree to which retirement investors are

responsible for investing their retirement savings and the role played by IRAs and

rollovers from ERISA-covered [Title I] Plans.” Defs.’ Br. 20 (ECF No. 40). The DOL

therefore promulgated a package of seven rules—collectively known as the “2016

Fiduciary Rule”—that, among other things, (i) abandoned the five-part test and

revised the definition of a fiduciary, (ii) issued two new exemptions, including the

Best Interest Contract Exemption (BICE) which required a written contract

between the fiduciary and the retirement plan investors with several conditions to

receive conflicted income, and (iii) amended existing exemptions to only allow for

a PTE for the sale of fixed rate annuity contracts.5 Defs.’ Br. 22.

      The Fifth Circuit observed that “[t]he stated purpose of the new rules [was]

to regulate in an entirely new way hundreds of thousands of financial service

providers and insurance companies in the trillion-dollar markets for ERISA plans

and [IRAs].” Chamber II, 885 F.3d at 363. However, the Fifth Circuit found that

the 2016 Fiduciary Rule was inconsistent with the “touchstone of common law

fiduciary status—the parties’ underlying relationship of trust and confidence” that




5 Fixed rate annuities “guarantee the purchaser will earn a minimum rate of
interest during the accumulation phase.” Chamber of Com. v. Hugler (Chamber
I), 231 F. Supp. 3d 152, 160 (N.D. Tex. 2017), rev’d sub nom. Chamber II, 885 F.3d
360 (5th Cir. 2018).
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is incorporated into ERISA’s text. Id. at 369. Thus, the rule conflicted with ERISA’s

statutory authorization, and the Fifth Circuit vacated the rule in its entirety.

         F. The New Interpretation

      Notwithstanding the Fifth Circuit’s decision, the DOL again sought to

regulate the ever-growing rollover market. On July 7, 2020, the DOL issued a

proposed new PTE, PTE 2020-02. Proposal PTE 2020-02, 85 Fed. Reg. 40834

(July 7, 2020); see also Admin R. 70-101. That same day, the DOL issued technical

amendments which implemented the vacatur of the 2016 Fiduciary Rule and re-

implemented the five-part test. Proposal PTE 2020-02, 85 Fed. Reg. at 40589. The

DOL then considered comments to the proposed exemption and issued its final

PTE with a New Interpretation of the now-reinstated five-part test (the “New

Interpretation”) on December 18, 2020, which took effect on February 16, 2021.

PTE 2020-02, 85 Fed. Reg. 82798 (Dec. 18, 2020); see also Admin. R. 1-69.

      The New Interpretation in PTE 2020-02 made several changes to existing

standards by way of its preamble and exemption. First, it withdrew the Deseret

Letter and reversed the DOL’s position that rollovers do not constitute fiduciary

investment advice. PTE 2020-02, 85 Fed. Reg. at 82803-05. The DOL’s new

position is that “a recommendation to roll assets out of a Title I Plan is advice with

respect to moneys or other property of the plan” and that “[a]n investment advice

fiduciary making a rollover recommendation would be required to avoid

prohibited transactions under Title I and the Code unless an exemption, including

this one, applies.” Id. at 82803.

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      Second, PTE 2020-02 instituted a “facts and circumstances analysis” where

the DOL considers the entirety of the facts and circumstances surrounding rollover

recommendations to determine whether a financial professional is acting as an

investment advice fiduciary. Id. at 82805. This includes an analysis of written

statements, marketing materials, and contractual disclaimers in finding if

individuals satisfy the five-part test for an investment advice fiduciary. Id. at

82805-06.

      Third, PTE 2020-02 requires financial institutions to provide written

disclosures that acknowledges their fiduciary status, outlines a description of the

services to be provided, and discusses any material conflicts of interest. Id. at

82820, 82863-64.

      Fourth, PTE 2020-02 mandates that financial institutions must conduct an

annual review to achieve compliance with the Impartial Conduct Standards (ICS),

to implement policies and procedures to comply with the exemption’s

requirements, and to create an annual report discussing the methodology and

results of the review. Id. at 82863-64.

      And fifth, PTE 2020-02’s preamble modifies the interpretation of the 1975

five-part test’s prongs. Id. at 82805-07. In particular, the DOL now takes the

position that while “a single instance of advice to take a distribution from a Title I

Plan and roll over assets would fail to meet the regular basis prong,” “advice to roll

over plan assets can also occur as part of an ongoing relationship or an intended

ongoing relationship that an individual enjoys with his or her investment advice

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provider.” Id. at 82805. Additionally, the DOL “intends to consider the reasonable

understanding of each of the parties” to determine whether there was a mutual

agreement, arrangement, or understanding that the investment advice will serve

as a primary basis for investment decisions. Id. at 82805-06.

II.   Procedural Background

      The FACC and several individual “financial professionals”—persons or

entities who represent or regularly engage in sales of insurance and other annuity

contracts to retirement plans and retirement investors (collectively, the

“Individual Plaintiffs” and together with the FACC, “Plaintiffs”)—filed their

Complaint against the DOL and Secretary of Labor Martin J. Walsh, alleging that

the New Interpretation exceeds the DOL’s authority under ERISA, and violates the

APA as an arbitrary and capricious rule.6 Compl. 18-20 (ECF No. 1). Plaintiffs state

that they are now covered as “investment advice fiduciaries” under the DOL’s New

Interpretation and are required to comply with a PTE or face penalties and other

potential lawsuits for breaches of fiduciary duties. Pls.’ App. 4-5, 7, 9, 11-12, 14

(ECF No. 21).

      Plaintiffs filed their Motion for Summary Judgment asking the Court to (1)

declare the New Interpretation was promulgated by the DOL in excess of its

statutory jurisdiction, authority, or limitations within the meaning of 5 U.S.C. §



6 The Court refers generally to anyone engaging in a rollover transaction as a
“retirement investor,” unless expressly noted. And the Court refers generally to any
party, such as a retirement adviser or insurance broker, engaging with a retirement
investor (fiduciary or not) as a “financial professional.”
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706(2)(C) and is arbitrary, capricious, or otherwise contrary to law within the

meaning of 5 U.S.C. § 706(2)(A); (2) vacate and set aside the New Interpretation

in its entirety; and (3) permanently enjoin the DOL and all of its officers,

employees, and agents from implementing, applying, or taking any action of any

type under the New Interpretation anywhere within the DOL’s jurisdiction. Pls.’

Mot. Summ. J. (ECF No. 19). In response, the DOL filed a Motion to Dismiss due

to lack of subject matter jurisdiction, or in the alternative, a Cross-Motion for

Summary Judgment. Defs.’ Mot. Summ. J. (ECF No. 39). The DOL contends that

Plaintiffs lack standing, and the New Interpretation is a reasonable interpretation

of ERISA’s text and its prior regulations. Defs.’ Mot. Summ. J. Plaintiffs then filed

a combined Reply in support of their Motion for Summary Judgment and in

opposition to the DOL’s Motion for Summary Judgment, Resp. (ECF No. 48), and

the DOL filed its Reply in support of their Motion to Dismiss and Cross-Motion for

Summary Judgment, Reply (ECF No. 55). The Court held oral argument on

January 24, 2023. Entry (ECF No. 59).

      The next month, Plaintiffs filed a notice of supplemental authority, calling

attention to the recent opinion in American Securities Ass’n v. United States

Department of Labor (ASA), 2023 WL 1967573 (M.D. Fla. Feb. 13, 2023), where

the District Judge vacated a portion of the DOL’s response to PTE 2020-02’s FAQs

as unreasonable under ERISA and the five-part test. Notice Suppl. Auth. 2 (ECF

No. 61). The DOL responded that this holding was based on a “mistaken premise”

and “should be rejected.” Defs.’ Resp. Suppl. Auth. 2-3 (ECF No. 63). The DOL

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initially appealed the decision in the ASA case, but later filed a Joint Stipulation of

Voluntary Dismissal of Appeal. Am. Notice Suppl. Auth. (ECF No. 64). In a

submission filed in this Court on June 9, 2023, the DOL asserts that—even though

it abandoned its appeal—it still contends the ASA decision was clearly erroneous

in some respects, but that the limited vacatur of the policy under the FAQ at issue

“does not undermine the [DOL’s] interpretation of the other prongs of the [five-

part test].” Defs.’ Second Resp. Suppl. Auth. 3-4 (ECF No. 68).

      The Motions are now ripe and ready for determination.

                                 Legal Standards

 I.   Rule 12(b)(1) Motion to Dismiss

      “Article III, § 2, of the Constitution extends the ‘judicial Power’ of the United

States only to ‘Cases’ and ‘Controversies.’” Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 102 (1998). The United States Supreme Court has interpreted “cases”

and “controversies” to mean those types of disputes traditionally resolved by the

judicial process. Muskrat v. United States, 219 U.S. 346, 357 (1911). “Standing to

sue is part of the common understanding of what it takes to make a justiciable

case.” Steel Co., 523 U.S. at 102 (citing Whitmore v. Arkansas, 495 U.S. 149, 155

(1990)). The “irreducible constitutional minimum of standing” includes three

elements. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “First, the plaintiff

must have suffered an injury in fact—an invasion of a legally protected interest

which is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical.” Id. (cleaned up). Second, the injury must be causally

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connected to the complained-of conduct; in other words, it must be

“fairly . . . trace[able] to the challenged action of the defendant, and not . . . th[e]

result [of] the independent action of some third party not before the court.” Id.

(alterations in original) (quoting Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26,

41-42 (1976)). And third, “it must be ‘likely,’ as opposed to merely ‘speculative,’

that the injury will be ‘redressed by a favorable decision.’” Id. at 561 (quoting

Simon, 426 U.S. at 38, 43).

      “If the court determines at any time that it lacks subject matter jurisdiction,

the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3). “A case is properly

dismissed for lack of subject matter jurisdiction when the court lacks the statutory

or constitutional power to adjudicate the case.” Home Builders Ass’n of Miss., Inc.

v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (quoting Nowak v.

Ironworkers Loc. 6 Pension Fund, 81 F.3d 1182, 1187 (2d Cir. 1996)). The Court

“must presume that a suit lies outside [its] limited jurisdiction, and the burden of

establishing federal jurisdiction rests on the party seeking the federal forum.”

Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001) (citations omitted).

The party asserting jurisdiction must allege the jurisdictional basis “affirmatively

and distinctly”; it cannot be “established argumentatively or by mere inference.”

Getty Oil Corp. v. Ins. Co. of N. Am., 841 F.2d 1254, 1259 (5th Cir. 1988) (citing Ill.

Cent. Gulf R.R. Co. v. Pargas, Inc., 706 F.2d 633, 636 & n.2 (5th Cir. 1983)). “The

burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction. Accordingly, the plaintiff constantly bears the burden of proof that

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jurisdiction does in fact exist.” Ramming v. United States, 281 F.3d 158, 161 (5th

Cir. 2001) (per curiam) (citations omitted).

       The elements of standing “are not mere pleading requirements but rather an

indispensable part of the plaintiff’s case.” Lujan, 504 U.S. at 561. Accordingly,

“each element must be supported in the same way as any other matter on which

the plaintiff bears the burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation.” Id. (citation omitted). “At the

pleading stage, general factual allegations of injury resulting from the defendant’s

conduct may suffice,” but in “response to a summary judgment motion, . . . the

plaintiff . . . must ‘set forth’ by affidavit or other evidence ‘specific facts,’ . . . , which

for purposes of the summary judgment motion will be taken to be true.” Id.

(quoting Fed. R. Civ. P. 56(e)).

       “If, in a suit ‘challenging the legality of government action,’ ‘the plaintiff is

himself an object of the action . . . there is ordinarily little question that the action

or inaction has caused him injury, and that a judgment preventing or requiring the

action will redress it.’” Texas v. EEOC, 933 F.3d 433, at 446 (5th Cir. 2019)

(quoting Lujan, 504 U.S. at 561-62). When a party is the object of a regulation,

“[a]n increased regulatory burden [on that party] typically satisfies the injury in

fact requirement.” Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779 F.3d 258,

266 (5th Cir. 2015) (citing Ass’n of Am. R.Rs. v. Dep’t of Transp., 38 F.3d 582 (D.C.

Cir. 1994)).



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II.   Motion for Summary Judgment

      In a challenge to an agency action under the APA, “the district judge sits as

an appellate tribunal. The ‘entire case’ on review is a question of law.” Am.

Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001). “[S]ummary

judgment is the proper mechanism for deciding, as a matter of law, whether an

agency’s action is supported by the administrative record and consistent with the

APA standard of review.” MRC Energy Co. v. U.S. Citizenship & Immigr. Servs.,

2021 WL 1209188, at *2 (N.D. Tex. Mar. 31, 2021) (Kinkeade, J.) (quoting Delta

Talent, LLC v. Wolf, 448 F. Supp. 3d 644, 650 (W.D. Tex. 2020)). “Thus, in

evaluating a case on summary judgment, the court applies the standard of review

from the APA.” Id. (quoting Am. Stewards of Liberty v. Dep’t of the Interior, 370

F. Supp. 3d 711, 723 (W.D. Tex. 2019)).

      The APA provides that “the reviewing court shall . . . hold unlawful and set

aside agency action, findings, and conclusions” that the court determines are

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law” or “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A), (C).

      “An agency acts in an arbitrary and capricious manner if it ‘has relied on

factors which Congress has not intended it to consider, entirely failed to consider

an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.’” Permian

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Basin Petroleum Ass’n v. Dep’t of the Interior, 127 F. Supp. 3d 700, 706-07 (W.D.

Tex. 2015) (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463

U.S. 29, 43 (1983)). “Although this inquiry into the facts is to be searching and

careful, the ultimate standard of review is a narrow one. The court is not

empowered to substitute its judgment for that of the agency.” Id. at 707 (quoting

Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971),

abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977)).

      In addition, an agency’s actions are in excess of its authority, jurisdiction, or

limitations if it acts outside of “its statutory mandate.” Elec. Indus. Ass’n Consumer

Elecs. Grp. v. FCC, 636 F.2d 689, 696 (D.C. Cir. 1980). If an agency seeks to

regulate areas outside of its jurisdiction, it may be deemed as either in excess of

jurisdiction or as an arbitrary and capricious decision. See Sackett v. EPA, 143 S.

Ct. 1322, 1332, 1341 (2023) (affirming a § 706(2)(A) claim).

                                     Analysis

 I.   Standing

         A. The Individual Plaintiffs have standing to sue.

      The DOL challenges the Individual Plaintiffs’ standing to sue and asserts

that they fail to allege an injury in fact. Defs.’ Br. 29-36. Plaintiffs maintain that

these individuals have standing because “the New Interpretation has a clear and

direct effect on their business decisions, as each of them has confirmed in their

declarations.” Resp. 9-10.




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      The Individual Plaintiffs submitted declarations describing the effects that

the New Interpretation has on them and their businesses. Pls.’ App. 3-17. Each

declaration describes that the individual, or principal of a business entity, is a

“licensed life insurance and annuity agent in Texas,” who engages in the sales of

annuities or other investment products. Pls.’ App. 3, 6, 8, 10, 13, 15. As a result of

the New Interpretation, the Individual Plaintiffs aver, they are subjected to a “new

regulatory regime” and have had to either decline offering business services or

adopt new and burdensome procedures to comply with the new exemption

requirements. Pls.’ App. 3, 6, 8, 10, 13, 15. No Individual Plaintiffs would have been

considered a fiduciary when recommending annuities or other investment options

offered in conjunction with a rollover prior to the DOL’s promulgation of the New

Interpretation.

      First, the DOL posits that the Individual Plaintiffs fail to allege any injury in

fact. The DOL does not dispute any of the facts recited in the Individual Plaintiffs’

declarations. Rather, the DOL argues that the declarations are “repeated verbatim

with no variation” and that they are wholly conclusory, complaining that “Plaintiffs

do not explain how the [DOL]’s action will increase the compliance costs already

imposed by state action.” Defs.’ Br. 32. The affidavit evidence, the DOL states, is

also not “particularized” to any Individual Plaintiffs and consists of mere

speculation. Defs.’ Br. 32-33.

      But simply because the Individual Plaintiffs face similar—or even identical—

harms does not negate each plaintiff’s injury. The Individual Plaintiffs are financial

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professionals who engage in sales or recommendations of annuity and investment

vehicles, which the New Interpretation now targets in the rollover context. PTE

2020-02, 85 Fed. Reg. at 82862-63 (describing coverage of financial institutions

and professionals). The DOL itself noted that newly covered firms and

professionals would be subject to millions of dollars in new compliance costs. PTE

2020-02, 85 Fed. Reg. at 82851-61. A decline in revenues—particularly here, where

the injury represents past forgone business opportunities and higher costs—tied to

the challenged agency action can be sufficient to confer standing. Cf. Sabre, Inc. v.

Dep’t of Transp., 429 F.3d 1113, 1119 (D.C. Cir. 2005) (noting that even a “sufficient

likelihood of economic injury” can establish standing). The Individual Plaintiffs

are surely the “object[s]” of the New Interpretation, as the New Interpretation

“directly influences the business decisions” of each. See Am. Sec. Ass’n, 2023 WL

1967573, at *8. Thus, the Individual Plaintiffs have set forth a concrete,

particularized injury in fact.

      Second, the Individual Plaintiffs’ injuries of additional economic and

procedural burdens are fairly traceable to the actions of the DOL. The New

Interpretation imposes fiduciary status and compliance duties on financial

professionals who would not have otherwise met the five-part test under the DOL’s

1975 regulation and were excluded under the Deseret Letter. The expanded

coverage stems directly from the New Interpretation’s different factors in

determining when individuals are considered an “investment advice fiduciary” and



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withdrawal of the Deseret Letter. Thus, the Individual Plaintiffs have set forth an

injury that is fairly traceable to the DOL’s promulgation of the New Interpretation.

       The DOL argues that the Individual Plaintiffs are engaged in self-harm to

artificially manufacture standing. Defs.’ Br. 34-36. In the DOL’s view, the existence

of PTE 84-24 gives insurance companies and agents an “alternative” to PTE 2020-

02. Defs.’ Br. 34-35. Thus, every Individual Plaintiff would lack standing because

they do not have to abide solely by PTE 2020-02. Defs.’ Br. 36. Stated differently,

any Individual Plaintiff who elects to abide by PTE 2020-02, rather than PTE 84-

24, is choosing to incur the new compliance costs and resultant alleged decline in

revenues.

       Self-inflicted injury is generally insufficient to confer standing. See Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 418 (2013). “‘But-for’ causation will not suffice

if a plaintiff’s injury is self-inflicted, because such an injury is not ‘fairly traceable’

to the challenged action.” Kinetica Partners, LLC v. U.S. Dep’t of the Interior, 505

F. Supp. 3d 653, 668 (S.D. Tex. 2020) (collecting cases). A self-inflicted injury will

defeat standing “if ‘the injury is so completely due to the plaintiff’s own fault as to

break the causal chain.’” Id. (quoting Backer ex rel. Freedman v. Shah, 788 F.3d

341, 344 (2d Cir. 2015) (quoting 13 Charles A. Wright, Arthur R. Miller, & Edward

H. Cooper, Federal Practice & Procedure § 3531.5, at 457 (2d ed. 1984))).

       As Plaintiffs point out, they are not challenging PTE 2020-02 itself; rather,

they challenge the New Interpretation of the five-part test, as discussed in the

preamble and text of PTE 2020-02, and its definition of what relationships will be

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considered in determining fiduciary status. Resp. 14 (“Plaintiffs are challenging the

New Interpretation, not the [PTE 2020-02] itself, under the APA.”). As accurately

characterized, Plaintiffs complain about the DOL’s new promulgated methodology

in PTE 2020-02 for evaluating fiduciary status and applying this rule to rollovers

generally. If the financial professional is not a fiduciary, it would not need to

comply with either PTE 2020-02 or PTE 84-24; such a financial professional

would be engaged in only sales conduct outside of ERISA’s purview. The Individual

Plaintiffs are not “manufacturing” standing by having to comply with PTE 2020-

02, instead they are forced to choose between any PTE and the corresponding

compliance requirements. Accordingly, the Individual Plaintiffs have shown they

would be subjected to a new regulatory scheme under the DOL’s New

Interpretation necessary to show traceability to the DOL’s actions.

      The DOL’s reliance on Renal Physicians Ass’n v. Department of Health and

Human Services mischaracterizes the extent of that holding. 422 F. Supp. 2d 75

(D.D.C. Mar. 7, 2006). In Renal Physicians Ass’n, the plaintiff challenged certain

regulatory safe harbor provisions to the Stark Law.7 Id. at 80. The Court found that

the plaintiff failed to allege an injury in fact because the “ultimate injury arises not

from the safe harbor provision itself, but from regulated third parties.” Id. at 83.

The voluntary nature of safe harbor meant that any ruling from the courts would



7 The Stark Law prohibits physicians from referring Medicare patients to
healthcare service providers with which the referring physician has a financial
relationship. See United States ex rel. Thompson v. Columbia/HCA Healthcare
Corp., 125 F.3d 899, 901-02 (5th Cir. 1997).
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not result in relief to the plaintiff. Id. at 82-84 & n.5. Here, under the New

Interpretation, the Individual Plaintiffs are subjected to fiduciary duties or they are

not—there is no voluntary choice. Further, there is no question that there are no

third parties causing harm simply because retirement investors are involved; the

financial professionals themselves are subjected to the DOL’s interpretive rules.

      Third, court action could fairly redress the Individual Plaintiffs’ injuries. The

APA allows courts to “set aside agency action” that is arbitrary or capricious or in

excess of statutory authority. 5 U.S.C. § 706(2)(A), (C). The New Interpretation

broadens the range of financial professionals who may be subjected to new

fiduciary duties. Vacatur of the New Interpretation would remove any additional

compliance burdens or threat of potential litigation. Therefore, the Individual

Plaintiffs have set forth that a favorable ruling would redress any injuries.

      Accordingly, the Court should determine that the Individual Plaintiffs have

standing.

            B. The FACC has associational standing.

      The DOL also maintains that the FACC itself failed to sufficiently

demonstrate associational standing because the FACC “failed to show that ‘its

members would otherwise have standing to sue in their own right[,]’” and that the

FACC’s members have only a “statistical probability that some of those members

are threatened with concrete injury.” Defs.’ Br. 33-34.

      An organization may establish “associational standing” by demonstrating

the classic elements of standing and “that the interest the association seeks to

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protect be germane to its purpose.” OCA-Greater Hous. v. Texas, 867 F.3d 604,

610 (5th Cir. 2017) (citing Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587

(5th Cir. 2006)). Courts consider three factors to determine whether an

organization has associational standing: “(a) [the association’s] members would

otherwise have standing to sue in their own right; (b) the interests [the association]

seeks to protect are germane to the organization’s purpose; and (c) neither the

claim asserted nor the relief requested requires the participation of individual

members in the lawsuit.”8 Tex. Ent. Ass’n, Inc. v. Hegar, 10 F.4th 495, 504 (5th

Cir. 2021) (alteration in original) (quoting Ass’n of Am. Physicians & Surgeons,

Inc. v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010) (quoting Hunt v. Wash. St.

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977))). “[T]he germaneness

requirement is ‘undemanding’ and requires ‘mere pertinence’ between the

litigation at issue and the organization’s purpose.” Ass’n of Am. Physicians &

Surgeons, Inc., 627 F.3d at 550 n.2 (quoting Bldg. & Constr. Trades Council of

Buffalo v. Downtown Dev., Inc., 448 F.3d 138, 148 (2d Cir. 2006)).

      The FACC submitted its CEO’s affidavit which states that the association is

“dedicated to advancing the interest of independent distribution of guaranteed

insurance products through insurance-licensed professionals,” the association’s

members “have had to consider their business practices to be subject to ERISA

requirements for the first time and have had to meet the requirements of a [PTE],”



8The third prong of the associational standing test is prudential. Ass’n of Am.
Physicians & Surgeons, Inc., 627 F.3d at 551.
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and “many of FACC’s members [] have had to adopt new and burdensome

procedures and documentation for tax-qualified annuity sales . . . [which] have led

to a diminution in tax-qualified annuity sales by FACC’s members.” Pls.’ App. 18-

19.

      First, the FACC has adequately set forth that their members will suffer a

harm due to the increased regulatory burden; a harm that is concrete and

particularized to its members that, as discussed, would allow them to sue in their

own right. See Contender Farms, L.L.P., 779 F.3d at 266. Second, the FACC meets

the “undemanding” germaneness requirement as the association seeks to advance

the interests of insurance-licensed professionals, all of whom are directly impacted

by the DOL’s New Interpretation. And third, nothing in this lawsuit requires the

presence of individual members of the FACC to adjudicate the member’s interests

because the FACC does not seek damages; rather, it seeks declaratory and

injunctive relief. See Nat’l Council of Agric. Emps. v. U.S. Dep’t of Lab., 2023 WL

2043149, at *6 (D.D.C. Feb. 16, 2023) (citing United Food & Com. Workers Union

Loc. 751 v. Brown Grp., 517 U.S. 544, 544, 554 (1996) (explaining that, generally,

association standing is inappropriate “when an organization seeks damages on

behalf of its members,” but not when it seeks injunctive or declaratory relief)).

      Therefore, the Court should determine that the FACC satisfies the

associational standing requirements.




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II.   Judicial Review

      A court considering a challenge to agency action must ensure that the agency

action at issue is reviewable under the APA. Data Mktg. P’ship, LP v. U.S. Dep’t of

Lab., 45 F.4th 846, 853 (5th Cir. 2022). As a jurisdictional question, “the Court

must consider whether [a regulation] is reviewable under the APA to ensure that it

does ‘not exceed the scope of [the Court’s] jurisdiction.’” Henderson ex rel.

Henderson v. Shinseki, 562 U.S. 428, 434 (2011). To be reviewable, a court must

inquire about whether (1) the action is not a final agency action, (2) there are any

statutory bars to judicial review, (3) the agency action is committed to agency

discretion by law, and (4) the injury alleged is outside the “zones of interests” for

which the statutes exist to protect. See Texas v. United States, 606 F. Supp. 3d 437,

468-86 (S.D. Tex. June 10, 2022). If the answer to any of these inquiries is in the

affirmative, the action is not reviewable under the APA.

      The DOL does not appear to challenge the judicial reviewability of Plaintiffs’

claims on any particular ground. And a single, cursory assertion that rulemaking

on other amendments to PTE 84-24 is not a “final agency action” should not alter

the Court’s analysis regarding PTE 2020-02, its preamble, or the New

Interpretation. Defs.’ Br. 36. The Fifth Circuit reviewed a similar agency action in

Chamber II, see 885 F.3d at 368, and the Court discerns no reason why the New

Interpretation is unreviewable here. Indeed, this Court cannot ignore the Fifth

Circuit’s Chamber of Commerce opinion, as it is controlling precedent with respect

to the analysis required here.

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III.   APA Review

       According to Plaintiffs, the New Interpretation must be vacated because it

“perpetuates the original sin of the 2016 Fiduciary Rule by completely ignoring the

historically recognized distinction between fiduciary investment advisers and

financial salespeople” and neglects incorporating the “special relationship of trust

and confidence” into the determination of whether financial professionals are

acting as investment advice fiduciaries. Pls.’ Br. 17 (ECF No. 20). This failure,

Plaintiffs argue, is evident because the New Interpretation renders different

requirements of the five-part test “meaningless” and “stray[s] from Congress’

intent in a fundamental way.” Pls.’ Br. 18, 19. Further, Plaintiffs contend, the

blurring of the distinction between trusted adviser and ordinary salespeople leads

to an expanded definition of fiduciary that exceeds the statutory grant of authority

under ERISA. The DOL disputes Plaintiffs’ characterization of its action and

asserts that the New Interpretation aligns with the plain meaning of ERISA

because it carefully crafted the New Interpretation to only encompass those

relationships built on trust and confidence; that is, those relationships that are

fiduciary in nature. Defs.’ Br. 45 (ECF No. 40).

       The New Interpretation is only valid “if it is authorized by ERISA Titles I and

II.” Chamber II, 885 F.3d at 369. “A regulator’s authority is constrained by the

authority that Congress delegated it by statute.” Id. The APA provides that “[t]o the

extent necessary to a decision and when presented, . . . [t]he reviewing court shall

hold unlawful and set aside agency action, findings, and conclusions found to

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be . . . in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C.

§ 706(2)(C). Also, under current Fifth Circuit precedent, the Chevron Doctrine

applies when reviewing agency action under the APA.9 See Chamber II, 885 F.3d

at 369; Texas v. Becerra, 575 F. Supp. 3d 701, 714 (N.D. Tex. Dec. 15, 2021).

      Courts reviewing an agency action under Chevron engage in a two-step

process. First, the Court must begin by reviewing “whether Congress has directly

spoken to the precise question at issue. If the intent of Congress is clear, that is the

end of the matter; for the court, as well as the agency, must give effect to the

unambiguously express intent of Congress.” Chevron, U.S.A., Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837, 842-43 (1994). If Congress has not “directly addressed

the precise question at issue . . . [and] if the statute is silent or ambiguous,” then

the Court must review “whether the agency’s answer is based on a permissible

construction of the statute.” Id. at 843.

          A. The Major Questions Doctrine does not preclude review.

      In Chamber of Commerce, the Fifth Circuit suggested that the 2016

Fiduciary Rule’s departure from the common law’s definition of fiduciary was a

“novel interpretation” that may be subject to the Major Questions Doctrine.




9 While Chevron review is apparently out of favor, the Supreme Court has not
expressly overruled the deferential standard, and the Court should consider
Chevron here. Furthermore, although the precise contours of a challenge under
either 5 U.S.C. § 706(2)(A) or § 706(2)(C) are unclear, the Supreme Court has
found that an agency acts arbitrarily and capriciously when it acts outside its
jurisdiction. Cf. Sackett, 143 S. Ct. 1322 (2023) (analyzing jurisdiction on a 5 U.S.C.
§ 706(2)(A) claim).
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Chamber II, 885 F.3d at 380-81. And here, Plaintiffs argue that the Major

Questions Doctrine should preclude any meaningful analysis of the New

Interpretation. Pls.’ Br. 40-47. They argue they are entitled to relief because the

DOL is using the New Interpretation “to arrogate to itself significant regulatory

power over the IRA marketplace that Congress has not granted it.” Pls.’ Br. 43. The

DOL contends that the Major Questions Doctrine has no application to this case.

Defs.’ Br. 51.

       “Congress intends to make major policy decisions itself, not leave those

decisions to agencies.” West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022) (quoting

U.S. Telecom Ass’n v. FCC, 855 F.3d 381, 419 (D.C. Cir. 2017) (Kavanaugh, J.

dissenting from denial of rehearing en banc)). The Major Questions Doctrine

provides that “in certain extraordinary cases, both separation of powers principles

and a practical understanding of legislative intent” cautions courts from

“‘read[ing] into ambiguous statutory text’ the delegation claimed to be lurking

there.” Id. (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)). When

determining whether the Major Questions Doctrine applies, the Fifth Circuit

generally considers factors such as: (1) whether the authority is from an “old

statute employed in a novel manner,” (2) the economic impact of the regulation,

(3) whether the regulation lies outside of the agency’s “core competencies,” and (4)

whether the regulation involves a matter of political significance. BST Holdings,

L.L.C. v. Occupational Safety & Health Admin., 17 F.4th 604, 617-18 (5th Cir.

2021). When analyzing these factors here, they weigh against application of the

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Major Questions Doctrine. The Middle District of Florida did not invoke the

Doctrine in the ASA case to avoid analyzing the policy referenced in FAQ 7. And

the New Interpretation does not rise to the level of the expansive power the DOL

sought to exert through the 2016 Fiduciary Rule.

      First, the authority that the DOL seeks to exert here is not novel or based in

any “ancillary” provision in ERISA. See Whitman v. Am. Trucking Ass’ns, 531 U.S.

457, 468 (2001) (“Congress . . . does not alter the fundamental details of a

regulatory scheme in vague terms or ancillary provisions—it does not, one might

say, hide elephants in mouseholes.”). Congress granted the DOL broad authority

to issue technical terms relating to fiduciary status. ERISA § 505, 29 U.S.C. § 1135;

ERISA § 2(a), 29 U.S.C. § 1001(a). Here, the challenged agency action includes the

DOL’s restoration of the previous five-part test, withdrawal of the Deseret Letter,

and modification of the factors that the DOL will review in determining fiduciary

status. The DOL’s actions fall within the broad grant of Congressional

authorization, and it is similar to previous actions such as the DOL’s initial 1975

regulation and clarifying opinion in the Deseret Letter.

      Second, the economic impact of the New Interpretation is unclear. While the

parties note that the rollover market cumulatively approached $2.4 trillion in

2020, Pls.’ Br. 40, Defs.’ Br. 23, the economic impact looks primarily to the costs

imposed on individuals covered by the statute—not simply the total amount of

assets affected. See BST Holdings, L.L.C., 17 F.4th at 617 (holding that the Major

Questions Doctrine applies when compliance costs exceed $3 billion); Brown v.

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U.S. Dep’t of Educ., 2022 WL 16858525, at *11 (N.D. Tex. Nov. 10, 2022) (holding

major questions doctrine applies when compliance costs exceed $400 billion);

Biden v. Nebraska, 600 U.S. __ (2023) (suggesting the major questions doctrine

applies in a case “to release 43 million borrowers from their obligations to repay

$430 billion in student loans”), 2023 WL 4277210. ERISA necessarily involves

substantial assets, as Americans save billions of dollars annually in ERISA plans.

If absolute asset values that are regulated were the dispositive factor for the

application of the Major Questions Doctrine, the doctrine would likely apply to any

DOL regulation under ERISA solely due to the nature of the retirement industry.

Reviewing the compliance costs as the appropriate metric, the DOL projects that

costs for compliance with the New Interpretation would reach approximately $80

million annually, PTE 2020-02, 85 Fed. Reg. at 82856, which is far short of the

“vast economic . . . significance” to support application of the Major Questions

Doctrine. BST Holdings, L.L.C., 17 F.4th at 617. Thus, this factor weighs against

application of the Major Questions Doctrine.

      Third, the New Interpretation is directly within the core competencies of the

DOL. Since ERISA’s enactment, the DOL has been expressly granted the authority

to issue PTEs for Title I plans; and, in 1984, the President and Congress granted

the DOL the ability to issue PTEs for Title II plans. 29 U.S.C. § 1135; Act of Oct. 19,

1984, Pub. L. No. 98-532, § 1, 98 Stat. 2705, 2705. The DOL also has express

authority to publish exemptions for Titles I and II and to define “accounting,

technical and trade terms” used in ERISA. 29 U.S.C. § 1135. With its expertise in

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defining those terms and standards outlining fiduciary status regarding ERISA

plans, the DOL is well-suited to address issues relating to defining certain

characteristics of fiduciary status.

      Fourth, the issue is not one of vast political significance. The New

Interpretation neither endeavors to transform constitutional rights nor does it

involve an entirely new statutory scheme. The New Interpretation is instead an

attempt to modify an existing regulation—the five-part test—that has been in place

since 1975. Cf. ASA, 2023 WL 1967573, at *12-13, 19-20 (holding that the policy

behind an FAQ related to the New Interpretation is an “interpretive rule”). Neither

party points to any major political question that may arise in the context of the

New Interpretation, and the Court should decline to find one that the parties have

not identified.

          B. The withdrawal of the Deseret Letter is not procedurally improper.

      Plaintiffs also seek vacatur of the New Interpretation’s withdrawal of the

Deseret Letter. Compl. 16; Pls.’ Br. 39. They contend that the withdrawal

“disavow[s]” the five-part test of any connection to the common law meaning of a

fiduciary. Pls.’ Br. 36. The effects of the withdrawal are analyzed below, but the

procedural nature of the withdrawal is not impermissible.

      The fact that an agency’s interpretation of terms “does not . . . lead [courts]

to conclude that no deference should be accorded the agency’s interpretation of the

statute.” Chevron, U.S.A., Inc., 467 U.S. at 863. “An initial agency interpretation is

not instantly carved in stone.” Id. “When an agency adopts a materially changed

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interpretation of a statute, it must in addition provide a ‘reasoned analysis’

supporting its decision to revise its interpretation.” Ala. Educ. Ass’n v. Chao, 455

F.3d 386, 392 (D.C. Cir. 2006). But “the Supreme Court has long recognized that

an agency interpretation that ‘conflicts with the agency’s earlier interpretation is

entitled to considerably less deference than a consistently held agency view.’”

Cargill v. Garland, 57 F.4th 447, 469 (5th Cir. 2023) (quoting Immigr. &

Naturalization Serv. v. Cardoza-Fonseca, 480 U.S. 421, 446 n.30 (1987)), appeal

docketed, No. 22-976.

      PTE 2020-02 fully explained the DOL’s reasoning for the withdrawal of the

Deseret Letter, 85 Fed. Reg. at 82803-04. The exemption notes that “[a]

recommendation to roll assets out of a Title I Plan is necessarily a recommendation

to liquidate or transfer the plan’s property interest in the affected assets and the

participant’s associated property interest in plan investments.” Id. While the New

Interpretation is a complete reversal from the position represented by the Deseret

Letter, the withdrawal of the Desert Letter itself does not modify or change the

five-part test; rather, it reinterprets the contexts where the five-part test will apply.

The DOL may adopt or withdraw advisory opinions in order to effectuate ERISA’s

mandate to the Secretary of Labor to promulgate exemptions—and, here, the DOL

has provided a lengthy and reasoned opinion for doing so. See Tex. Off. of Pub.

Util. Couns. v. FCC., 265 F.3d 313, 322 (5th Cir. 2001) (quoting Motor Vehicle

Mfrs. Ass’n, 463 U.S. at 56) (“While the agency is entitled to change its views on



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the acceptability of [a prior policy], it is obligated to explain its reasons for doing

so.”).

            C. The New Interpretation generally comports with ERISA and the
               common law meaning of a fiduciary.

         Plaintiffs argue that the DOL exceeded its authorization under ERISA in

promulgating the New Interpretation. Pls.’ Br. 15-31. It argues that the New

Interpretation “still operates to sweep within its reach financial salespeople, such

as insurance agents and stockbrokers, who inarguably are not fiduciaries at

common law.” Pls.’ Br. 17. The DOL counters that the New Interpretation is “in line

with the Fifth Circuit’s interpretation of ERISA’s text” and consistent with the sine

qua non of a fiduciary relationship—that of trust and confidence between parties.

Defs.’ Br. 46-51.

         ERISA grants the DOL authority to regulate a fiduciary’s conduct when that

fiduciary engages with assets of various retirement plans. As stated previously,

ERISA provides that, under both Title I and Title II, an individual is a fiduciary

who “renders investment advice for a fee or other compensation, direct or indirect,

with respect to any moneys or other property of such plan, or has any authority or

responsibility to do so.” ERISA § 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii) (Title I);

26 U.S.C. § 4975(e)(3)(B) (Title II). In Chamber of Commerce, the Fifth Circuit

held that when Congress enacted ERISA, “‘Congress intend[ed] to incorporate the

well-settled meaning’ of fiduciary” that encompasses the “relationship of trust and

confidence.” Chamber II, 885 F.3d at 371 (citing United States v. Castleman, 572


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U.S. 157, 162 (2014)). ERISA’s fiduciary definitions are “not in terms of formal

trusteeship, but in functional terms of control and authority over the plan.” See

Mertens v. Hewitt Assocs., 508 U.S. 248, 262 (1993). Through this lens, the Fifth

Circuit held in the Chamber of Commerce decision that the term “fiduciary”

necessarily encompasses the common law definition which “turns on the existence

of a relationship of trust and confidence between the fiduciary and the client.”

Chamber II, 885 F.3d at 370. Thus, the New Interpretation is only valid if it

properly distinguishes between fiduciaries, who engage in relationships where a

retirement investor places their faith in the financial professional to make prudent

decisions, and mere “stockbrokers and insurance agents,” who do not. Id. at 372.

      Plaintiffs fault the DOL for “fail[ing] to even mention . . . the existence of a

special relationship of trust and confidence between adviser and client.” Pls.’ Br.

17. Plaintiffs contend the New Interpretation treats salespeople and fiduciaries

alike. They suggest that because the DOL might find some salespeople to be

fiduciaries, the New Interpretation exceeds the authority of the DOL. Pls.’ Br. 17.

Therefore, in Plaintiffs’ view, the DOL’s attempt at regulating financial

professionals engaging in rollover transactions is in excess of the DOL’s authority

and an arbitrary and capricious interpretation of the five-part test.

      But ERISA does not expressly mention “trust and confidence” either. Rather,

those words are implicit when referring to a fiduciary in the context of ERISA. See

Chamber II, 885 F.3d at 369-71. Even so, “the question of who is a fiduciary can be

a vexatious one.” Ronald J. Cooke, 2 ERISA Practice & Procedure § 6:2 (Dec.

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2022). However, simply because a question of fiduciary status is “vexatious” does

not mean that the term is ambiguous, and no deference to the agency is necessary

when common law can inform the meaning of a fiduciary as used by Congress in

enacting ERISA. In reviewing the common law of trusts, “fiduciary duties

characteristically attach to decisions about managing assets and distributing

property to beneficiaries.” In re Luna, 406 F.3d 1192, 1204 (10th Cir. 2005) (citing

Pegram v. Herdrich, 530 U.S. 211, 231 (citing G. Bogert & G. Bogert, Law of Trusts

and Trustees §§ 551, 741-747, 751-775, 781-799 (2d ed. 1980))). “Trustees buy, sell,

and lease investment property, lend and borrow, and do other things to conserve

and nurture assets.” Pegram, 530 U.S. at 231. “[T]he common law trustee’s most

defining concern historically has been the payment of money in the interest of the

beneficiary.” Id.

      Further, ERISA expressly has limitations included, as individuals are

fiduciaries only “to the extent” they “render[] investment advice.” ERISA

§ 3(21)(A), 29 U.S.C. § 1002(21)(A). “ERISA . . . require[s] . . . that the fiduciary

with two hats wear only one at a time, and wear the fiduciary hat when making

fiduciary decisions.” Pegram, 530 U.S. at 225 (2000) (first citing Hughes Aircraft

Co. v. Jacobson, 525 U.S. 432, 443-44 (1999); and then citing Varity Corp. v.

Howe, 516 U.S. 489, 497 (1996)). If a financial professional, through the lens of

the facts and circumstances surrounding the rollover recommendation, crosses the

line from mere selling of investment products to offering investment advice, the

DOL (or, potentially, private individuals) will hold the professional accountable for

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their recommendations but only to the extent the professional acts in a manner of

trust and confidence. ERISA’s text combined with common law understandings

unambiguously demonstrates what Congress intended to cover as an investment

advice fiduciary.

      A financial professional who works regularly with a specific plan and

cultivates a relationship of trust and confidence with retirement investors may be

acting as a fiduciary in light of the common law of trust’s defining traits. Indeed,

the DOL now focuses on the relationship between the two parties—the key inquiry

into fiduciary status—irrespective of whether that transaction involves a rollover

or not. Utilizing facts and circumstances to determine fiduciary status is not a novel

concept. Courts routinely review the underlying record to determine whether a

fiduciary relationship is established, regardless of whether one party attempts to

contract out their fiduciary status. See, e.g., Santomenno ex rel. John Hancock Tr.

v. John Hancock Life Ins. Co. (U.S.A.), 768 F.3d 284, 299 (3d Cir. 2014); Hamilton

v. Carell, 243 F.3d 992, 1000 (6th Cir. 2001). A categorical exclusion for all

financial professionals who engage in rollover transactions is not warranted

through ERISA’s statutory text—if a financial professional functions as a fiduciary,

it must conduct themselves in compliance with ERISA.

      Unlike its position in the Chamber of Commerce case, the DOL here rejects

the notion that the New Interpretation includes financial professionals and

transactions that the DOL does not believe Congress intended to cover as a

fiduciary. Defs.’ Br. 50-51. Rather, the facts and circumstances surrounding a

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rollover will cover “persons whose actions affect the amount of benefits retirement

plan participants will receive.” Defs.’ Br. 51 (first quoting John Hancock Mut. Life

Ins. Co. v. Harris Tr. & Sav. Bank, 510 U.S. 86, 96 (1993); and then citing

Woodfork v. Marine Cooks & Stewards Union, 642 F.2d 966, 969 (5th Cir. 1981)).

      As to the regular basis requirement and the New Interpretation’s

consistency with ERISA, the Fifth Circuit held that investment advice procured “on

a fee basis” generally encompasses “a substantial, ongoing relationship between

adviser and client.” Chamber II, 885 F.3d at 375 (emphasis added). But that

opinion did not foreclose that Title I duties may reach those fiduciaries who, as

aligned with Title I’s text, render advice, even for the first time, “for a fee or other

compensation.” ERISA § 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii) (emphasis

added). And, as another court has noted, “[n]othing in the phrase ‘renders

investment advice’ suggests that the statute applies only to advice provided ‘on a

regular basis.’” Nat’l Ass’n for Fixed Annuities v. Perez, 217 F. Supp. 3d 1, 23

(D.D.C. 2016). Indeed, ERISA expressly authorizes the DOL to impose fiduciary

duties on those who provide recommendations concerning Title I assets, if that

investment advice is given “for a fee or other compensation.” While a regular,

ongoing relationship may be indicative of one based in confidence and trust, the

length of the relationship itself is not dispositive of whether the recommendation

is investment advice.10



 The Court emphasizes that the five-part test requires a “regular basis” but that
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ERISA itself does not.
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      First-time advice may be sufficient to confer fiduciary status and is

consistent with ERISA.11 Indeed, courts analyzing the “regular basis” aspect of

fiduciary status do so by referencing the DOL’s regulation, not solely ERISA, when

determining a fiduciary relationship did not exist because advice was given on a

irregular basis. See, e.g., Schlogel v. Boswell, 994 F.2d 266, 272 (5th Cir. 1993);

Useden v. Acker, 947 F.2d 1563, 1578 (11th Cir. 1991); Am. Fed. of Unions Loc. 102

Health & Welfare Fund v. Equitable Life Assurance Soc’y of the U.S., 841 F.2d 658,

664 (5th Cir. 1988). ERISA does not include a regular basis requirement. The New

Interpretation keeps the regular basis requirement of the five-part test, but it now

also covers rollover transactions if there is a reasonable expectation of ongoing

advice from financial professionals to retirement investors, and other portions of

the five-part test are met. Accordingly, the New Interpretation appears consistent

with ERISA insofar as it covers rollover relationships of trust and confidence.

                i.   The New Interpretation impermissibly considers Title II plan
                     advice when determining Title I fiduciary status and
                     conflates the distinction of fiduciary status outlined in ERISA
                     between Title I and Title II plans.

      Plaintiffs argue that “[m]erely advising an employee to withdraw funds from

a 401k plan is not, in the usual meaning of such words, advice regarding the

investment of plan assets.” Pls.’ Br. 36. Thus, “investment advice with respect to

funds in an IRA that have been rolled over from an ERISA Title I plan are obviously




11The Court emphasizes that the analysis for consistency with ERISA and
consistency with the DOL’s regulations is distinct.
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no longer assets of the plan.” Pls.’ Br. 36. The DOL argues that it has authority to

consider actions taken over any ERISA plan, because the definitions of fiduciaries

are identical between Title I and Title II. Defs.’ Br. 57.

      ERISA’s text defines Title I and Title II “plans” distinctly. See supra Part I.A.

By utilizing these separate definitions, Congress indicated how each Title’s plans

should be treated differently due to the nature of the relationship between financial

professionals and retirement investors in Title I and Title II plans. As the New

Interpretation purports to consider recommendations as to Title II plans when

determining Title I fiduciary status, it conflicts with ERISA. Therefore, it is an

arbitrary and capricious agency action in violation of the APA.

      This Title I–Title II distinction is supported by the statute’s text defining an

investment advice fiduciary, which provides that a person is a fiduciary if they

render advice with regard to “any moneys or other property of such plan.” ERISA

§ 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii) (emphasis added). As the Fifth Circuit

did in the Chamber of Commerce decision, this provision is read in conjunction

with § 3(21)(A)(i) and § 3(21)(A)(iii) which also focus on management authority or

discretionary authority “of such plan.” This is significant because allowing Title II

advice to be considered for determining Title I relationships would dilute these

provisions and encompass financial professionals who may only have fiduciary

status for one ERISA-protected plan, but not a separate one. Congress carefully

distinguished between the penalties fiduciaries faced for engaging in prohibited

transactions for Title I and Title II plans. Allowing the New Interpretation to stand

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as a whole would give the DOL an ability to impose Title I fiduciary status on

unsuspecting financial professionals who do not cultivate relationships of trust and

confidence with that same Title I plan. Once Title I assets are severed from the Title

I plan, any consideration of future relationships or advice given is an

impermissible application that blurs this Title I–Title II delineation set out in

ERISA.

      Courts have carefully scrutinized differences in Title I and Title II provisions

and the usage of language within each Title’s authorizations. See, e.g., Chamber II,

885 F.3d at 381; Musmeci v. Schwegmann Giant Super Mkts., Inc., 332 F.3d 339,

345 (5th Cir. 2003); cf. Flahertys Arden Bowl, Inc. v. Comm’r, 115 T.C. 269, 272-

73 (2000). For instance, in Musmeci, the Fifth Circuit noted that Title I was drafted

“in concert” with Title II and that “overlapping terms should be consistently

defined in both.” Musmeci, 332 F.3d at 345. Here, “plan” is defined differently in

Title I and Title II and cannot be said to be an ambiguous “overlapping term.” In

the same vein, “fiduciary” may be defined identically across each Title, but the DOL

does not suggest that “plan” should be interpreted the same across each Title in

light of the clear statutory directive.

      Plaintiffs point out another district court that drew a clear line between Title

I and Title II fiduciary status requirements, holding that “the threshold

question is . . . whether that [defendant] was acting as a fiduciary (that is, was

performing a fiduciary function) when taking the action subject to complaint.”

Carfora v. Teachers Ins. Annuity Ass’n of Am., 2022 WL 4538213, at *5 (S.D.N.Y.

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Sept. 27, 2022) (alteration in original). The Carfora court noted that a

recordkeeper/investment manager was not a fiduciary because the “investment

advice provision of ERISA states that ‘a person is a fiduciary with respect to a plan

to the extent . . . he renders investment advice for a fee.’” Id. at *13 (quoting ERISA,

§ 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii)). This inquiry was properly understood

“in the context of the plan’s investment decisions.” Id. This argument is persuasive

in that it emphasizes the textual restrictions ERISA places on the DOL to address

competing interests in the marketplace. See Donovan v. Cunningham, 716 F.2d

1455, 1467 (noting that, by enacting ERISA, “Congress was aware of, and has struck

a balance between” competing policy interests of employees and employers).

      The DOL focuses on the Supreme Court’s holding in LaRue v. DeWolff,

Boberg & Associates, Inc. as support for its position. 552 U.S. 248 (2008). In

LaRue, the Supreme Court authorized a suit by an individual participant in a

defined contribution plan under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), whose

individual account was depleted due to the employer’s failure to direct investments

according to the participant’s choices. LaRue, 552 U.S. at 250-51. The Supreme

Court found that individual accounts in Title I plans were still considered assets of

the plan, such that participants could bring claims for breaches of fiduciary duties

to recover losses caused by the fiduciary’s failures. Id. at 252-56. This case is

inapposite. LaRue dealt with claims reaching assets of individual accounts that are

wholly encompassed in Title I plans, while the New Interpretation now reviews

relationships that span Title I and Title II plan assets to determine fiduciary status.

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       The New Interpretation allows for the consideration of fiduciary

relationships with both Title I and Title II plans, which is contrary to the text and

ERISA’s legal precedents. Accordingly, the New Interpretation conflicts with

ERISA, and the portions of the New Interpretation that allow for consideration of

relationships that span more than one ERISA plan should be vacated.

                 ii.    Aside from the problems with fiduciary status, the New
                        Interpretation does not conflate the ERISA duties imposed on
                        fiduciaries regarding Title I and Title II plans.

       Plaintiffs also argue that the New Interpretation “significantly erodes” the

demarcation of duties that apply to Title I and Title II assets. Pls.’ Br. 35. The assets

that are rolled over from Title I to Title II plans, Plaintiffs state, are “no longer

assets of the plan,” and that the withdrawal of the Deseret Letter is a “radical[] new

position that is inconsistent with the five-part test and ERISA.” Pls.’ Br. 36-37. The

DOL maintains that the recommendation to roll assets out of a plan is a

recommendation “to liquidate or transfer the plan’s property interest” and that

“the Deseret Letter arbitrarily drew a line between fiduciary advice provided to an

ERISA plan and advice to rollover assets that comprise part of that plan.” Defs.’ Br.

63-64.

       As discussed, ERISA provides that a person is an investment advice fiduciary

who “renders investment advice for a fee . . . with respect to any moneys or other

property of such plan.” ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). Indeed, the

preamble to PTE 2020-02 outlines the demarcation between duties of Title I and

Title II fiduciaries:

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      a broker-dealer who satisfies the five-part test with respect to a
      Retirement Investor in advising on assets in a Title I Plan, advises the
      Retirement Investor to move his or her assets from the plan to an IRA,
      and receives any fees or compensation incident to distributing those
      assets, will be a fiduciary subject to Title I, including section 404, with
      respect to the advice regarding the rollover. Following the rollover, the
      broker-dealer will be a fiduciary under the Code subject to the
      prohibited transaction provisions in Code section 4975.

PTE 2020-02, 85 Fed. Reg. at 82805. Once assets are removed from the plan

through a rollover, they will no longer be subjected to breaches of Title I fiduciary

duties, only Title II excise tax penalties. The DOL recognized the contours of Title

I and Title II and drafted its regulation in an attempt to carefully delineate between

the two.

      Other courts have noted that Title I fiduciary duties may extend to the time

a party withdraws assets from the Title I Plan. See Beeson v. Fireman’s Fund Ins.

Co., 2009 WL 2761469, at *5 (N.D. Cal. Aug. 31, 2009) (holding breach of fiduciary

duty claims regarding assets withdrawn from a Title I plan are not cognizable

because the assets were no longer part of the Title I plan). The New Interpretation

follows this distinction as it only imposes Title I duties on Title I assets up until the

point they are withdrawn from the Title I plan, at which point the DOL recognizes

that the assets are only subject to Title II duties and penalties.

      The parties each analyze this perceived conflation of duties in terms of what

the DOL may consider in the “regular basis” prong or other portions of the five-

part test, and the Court analyzes that in comparison to the DOL’s five-part test, see

infra Part III.D. But these arguments are irrelevant for determining whether the


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New Interpretation is consistent with ERISA, instead relating to whether the New

Interpretation is consistent with the DOL’s own regulations. Indeed, Plaintiffs and

the DOL spend a majority of their briefing discussing whether the New

Interpretation aligns with the five-part test, arguing that if the New Interpretation

oversteps the bounds of the five-part test, such action violates ERISA. But this

approach would ossify the DOL’s enforcement into the five-part test’s

requirements and the Deseret Letter’s position, essentially foreclosing any

coverage of fiduciary conduct regarding rollovers.

      Accordingly, because PTE 2020-02 and its preamble do not impose

fiduciary duties beyond that authorized by each Title under ERISA, the New

Interpretation does not conflate the duties imposed on the specific relationships in

an unlawful manner.

               iii.   The New Interpretation does not impermissibly equate sales
                      commissions with advice for a fee.

      Plaintiffs also argue that the New Interpretation “obliterate[s] [] the

historical divide between commissioned salespeople and fee-based advisers.” Pls.’

Br. 34. Due to the “watered-down version” of the 1975 five-part test stemming from

the New Interpretation, Plaintiffs contend that the consideration of commissions

as investment advice for a fee essentially covers all sales conduct. Resp. 23. The

DOL posits that Plaintiffs are seeking “categorical exclusions” for brokers and

insurance agents who receive commission-based compensation, Defs.’ Reply 9,




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and that commissions have consistently been deemed as a “fee” within the scope

of ERISA. Defs.’ Br. 61-62.

      The Fifth Circuit in its Chamber of Commerce decision cited approvingly of

the DOL’s understanding in 1975 of what compensation structures constitute

advice for a fee. Chamber II, 885 F.3d at 373-74. It noted that, under the 1975

definition of an “investment advice fiduciary,” the DOL found that fees in

conjunction with investment advice “‘may include’ brokerage commissions, but

only if the broker-dealer who earned the commission otherwise satisfied the [1975]

regulation’s requirements” of the five-part test. Id. at 373 (quoting Definition of

the Term “Fiduciary,” 40 Fed Reg. at 50842-43 (Oct. 31, 1975)).

      The DOL’s New Interpretation does not stray from previous, approved

iterations of the five-part test. The 1975 regulation expressly stated that fees for

advice “may include, for example, brokerage commissions, mutual fund sales

commissions, and insurance sales commissions”—if investment advice is

rendered. 40 Fed. Reg. at 50842; see 29 C.F.R. § 2510.3–21. This reasoning aligns

with the full text of ERISA, which holds that a party is a fiduciary if it “renders

investment advice for a fee or other compensation, direct or indirect.” ERISA

§ 3(21)(A)(ii), 29 U.S.C. § 1002(21)(A)(ii) (emphasis added). The expansive choice

of investment advice “for other compensation” indicates an intent to cover any

transaction where the financial professional may receive conflicted income if they

are acting as a trusted adviser.



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      Plaintiffs challenge the DOL’s position with scattered citations to the Fifth

Circuit’s Chamber of Commerce decision and argue that the New Interpretation

“carries forward the same misguided approach” where salespeople and insurance

brokers have the “responsibility to ‘render investment advice.’” Pls.’ Br. 31-34; see

Resp. 23-24. Other courts hold that commissions may be fees or other

compensation if they are both given for investment advice and come from the plan

assets to the purported fiduciary. See, e.g., Am. Fed. of Unions Loc. 102 Health &

Welfare Fund, 841 F.2d at 664; Consol. Beef Indus., Inc. v. N.Y. Life Ins. Co., 949

F.2d 960, 965 (8th Cir. 1991). But see Reich v. McManus, 883 F. Supp. 1144, 1150-

51 (N.D. Ill. 1995) (holding that defendants “were not paid any sort of fee or

compensation by the Plans for their services; rather, they were paid commissions

on the sales made to their clients”). While the Reich court seemingly excludes any

commissions from “investment advice for a fee or other compensation,” it

expressly noted that the commissions were paid on “sales,” not for investment

advice. Reich, 883 F. Supp. at 1150 (noting that defendants were “paid

commissions on the sales made to their clients” (emphasis added)).

      This outcome aligns with ERISA’s text and this Circuit’s precedent which

holds that the key inquiry is whether some form of compensation was given for

advice, not mere sales. Consistent with this position, the DOL does not

categorically cover nor exclude specific financial professionals based on their fee

structure, instead looking to the relationship and parties’ understandings of the

reasons for the compensation to determine fiduciary status to determine if a fee

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was given for advice. The DOL’s New Interpretation does not overstep in

considering various types of fee structures in determining fiduciary status of

investment advice providers.

         D. The New Interpretation’s consistency with DOL regulations

      Even assuming that the New Interpretation is consistent with ERISA’s

authorization to the DOL, the DOL—likely in an attempt to meet the Fifth Circuit’s

holding in Chamber II—reinstated the five-part test but modified the

interpretation of the test’s prongs and expressly made the test applicable to

rollover transactions. In view of these modifications, the New Interpretation

conflicts with the DOL’s reinstated regulation.

      Strictly speaking, “an agency is bound by its own regulations.” Panhandle E.

Pipe Line Co. v. Fed. Energy Regul. Comm’n, 613 F.2d 1120, 1135 (D.C. Cir. 1979).

But if an agency regulation is ambiguous, “[c]ourts sometimes extend Auer

deference to ‘agencies’ reasonable readings of genuinely ambiguous regulations.”

All. for Hippocratic Med. v. FDA, 2023 WL 2825871, at *20 (N.D. Tex. Apr. 7,

2023) (subsequent history omitted). An agency’s interpretation of an ambiguous

regulation is “controlling unless ‘plainly erroneous or inconsistent with the

regulation.’” Auer v. Robbins, 519 U.S. 452, 461 (1997). “[B]efore concluding that

a rule is genuinely ambiguous, a court must exhaust all the ‘traditional tools’ of

construction” to analyze whether a regulation is, in fact, ambiguous. Kisor v.

Wilkie, 139 S. Ct. 2400, 2415 (2019). Courts are directed to “‘carefully consider[]’

the text, structure, history, and purpose of a regulation, in all the ways it would if

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it had no agency to fall back on.” Id. Auer deference presumes that “the power

authoritatively to interpret its own regulations is a component of the agency’s

delegated lawmaking powers.” Johnson v. BOKF Nat’l Ass’n, 15 F.4th 356, 362 (5th

Cir. 2021).

      The DOL argues that “regular basis” and “mutual agreement” requirements

of the five-part test in its own regulation are ambiguous, and thus the New

Interpretation is entitled to Auer deference and can be read as reasonable under

this deferential standard. Defs.’ Br. 70-71; Reply 28-30. Plaintiffs state that the

1975 five-part test is not ambiguous and “appropriately and accurately ‘captured

the essence of a fiduciary relationship’ as it was understood at common law and

incorporated into ERISA.” Resp. 48.

                i.   The New Interpretation is not entitled to deference in the
                     DOL’s interpretation of the “regular basis” prong and
                     conflicts with the agency’s own interpretation of the “regular
                     basis” prong of the 1975 Five-Part Regulation.

      Plaintiffs assert that the New Interpretation “virtually eliminate[s] the

regular basis prong” of the five-part test. Pls.’ Br. 19. They argue that failing to

recognize a regular basis for investment advice would encompass mere sales

conduct within a fiduciary relationship, contrary to Congressional intent. Pls.’ Br.

22-24. The DOL maintains that it can review whether there is an expectation of an

ongoing relationship, even after the assets have been severed from the Title I plan.

Defs.’ Br. 53-58.




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      As to the “regular basis” prong of the five-part test, the 1975 regulation

requires that a person “renders any advice . . . on a regular basis to the plan.” 29

C.F.R. § 2510.3–21(c)(ii)(B). The unambiguous text provides that advice must be

provided on a regular basis to the plan, with “plan” being defined by the respective

Titles. A Title I plan is a “an employee welfare benefit plan or an employee pension

benefit plan or a plan which is both[,]” ERISA § 3(3), 29 U.S.C. § 1002(3), whereas

a Title II plan is “an [IRA] described in section 408(a).” 26 U.S.C. § 4975(e)(1)(B).

The five-part test requires that—as aligned with the essence of a fiduciary

relationship of trust and confidence—the financial professional must have a

substantial, ongoing relationship regarding the specific plan. As reflected in Title

I, the additional duties imposed on fiduciaries reflect Congressional intent to

protect against conflicted transactions regarding employer-provided benefit plans,

see ERISA § 404(a), 29 U.S.C. § 1104(a), as compared to the different

circumstances of relationships between financial professionals and investors in

Title II plans. The precise contours of what constitutes a “regular basis to the plan”

need not be defined here, but the text and structure of the five-part test must mean

advice given more than once to a specific Title I or Title II plan. See Schloegel v.

Boswell, 994 F.2d 266, 273 (5th Cir. 1993) (noting that “only a few instances” of

“investment-type advice” to a plan is insufficient to meet the regular basis

requirement). The DOL’s interpretation of its own regulation is in conflict with its

own regulation.



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      The New Interpretation provides that fiduciary “advice to roll over Plan

assets can occur as part of . . . an anticipated ongoing relationship that an

individual enjoys with his or her advice provider.” PTE 2020-02, 85 Fed. Reg. at

82805. This by itself may be permissible as the DOL posits that first time advice

may be the beginning of a relationship, but the DOL’s regulation provides that

advice must be given “on a regular basis to the plan.” 29 C.F.R. § 2510.3–

21(c)(ii)(B) (emphasis added). As noted above, the text and structure of ERISA

supports a reading where the advice relationship must be determined by only

looking to whether a fiduciary relationship exists in regard to a specific plan. See

Carfora, 2022 WL 4538213, at *13 (“‘[R]egular basis’ is meant to be understood in

the context of the plan’s investment decisions.”); Am. Sec. Ass’n, 2023 WL

1967573, at *16 (citing Carfora, 2022 WL 4538213, at *13) (same).

      Included in the New Interpretation is the proposition that:

      advice to roll assets out of a Title I Plan into an IRA where the
      investment advice provider has not previously provided advice but
      will be regularly giving advice regarding the IRA in the course of a
      more lengthy financial relationship would be the start of an advice
      relationship that satisfies the regular basis prong.

PTE 2020-02, 85 Fed. Reg. at 82805. Indeed, the DOL attempts to salvage a broad

reading by stating that it has “considered and rejected” Plaintiffs’ argument that

all stockbrokers or insurance agents want to cultivate a relationship which would

meet the DOL’s regular basis prong. Defs.’ Br. 54. But the DOL cannot justify its

position when its own regulation (and ERISA) requires advice to be given on a




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regular basis to “the” plan and may not consider IRA relationships in determining

Title I fiduciary status, as it contravenes ERISA and the five-part test.

      While the New Interpretation provides that “a single instance of advice to

take a distribution from a Title I Plan” and “sporadic interactions” would not meet

the regular basis prong, PTE 2020-02, 85 Fed. Reg. at 82805, it would be a

strained reading to permit the DOL to consider advice relationships outside such

advice for even first-time advice given to a specific plan, when the regulation

requires advice to be given “on a regular basis.” The DOL relies on 1 U.S.C. § 1 to

support that “[i]t is by no means uncommon to interpret regulatory or statutory

terms phrased in the present to incorporate the future tense.” PTE 2020-02, 85

Fed. Reg. at 82805 n.44. However, 1 U.S.C. § 1 states that this interpretative

method applies “unless the context indicates otherwise.” Given the context of the

five-part test’s clear textual limitation to specific plans and the Fifth Circuit

precedent, the DOL cannot read a prospective consideration of future advice

spanning different plans when the text of the 1975 five-part test requires a

relationship of trust and confidence between financial professionals and an ERISA

plan. “[T]reating IRA financial services providers in tandem with ERISA employer-

sponsored plan fiduciaries” conflates the distinctions outlined by Congress.

Chamber II, 885 F.3d at 381. This may be limited if, say, the financial professional

gives advice specifically to a plan, but that is not what the regulation says; the Court

must review the text of the regulation before it.



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      The New Interpretation’s construction of advice given “on a regular basis to

the plan” conflicts directly with the five-part test’s mandate and is unambiguously

foreclosed by the DOL’s own regulation. Given this conflict, this portion of the New

Interpretation is unreasonable under any standard for reviewing agency action.

               ii.   The New Interpretation does not conflict with the mutual
                     agreement or primary basis requirements of the 1975 Five-
                     Part Regulation.

      Plaintiffs next complain that the “mutual agreement” and “primary basis”

prongs of the five-part test are now meaningless, holding that the New

Interpretation “simply assumes that any type of ongoing relationship with an

Investment Professional must be fiduciary in nature, without any meaningful

consideration of whether the marketplace or the parties themselves would expect”

a mutual agreement that the recommendation will serve as the primary basis for

the plan’s investment decisions. Pls.’ Br. 26-31.

      As stated previously, the five-part test requires that, in order to be an

investment advice fiduciary, advice must be given “pursuant to a mutual

agreement, arrangement, or understanding, written or otherwise, between such

person and the plan or a fiduciary with respect to the plan.” 29 C.F.R. § 2510.3–

21(c)(ii)(B). “That mutual agreement, arrangement, or understanding must

indicate that such advice will serve as the primary basis for the plan’s investment

decisions and that the advisor will render individualized investment advice based

on the plan’s particular investment needs.” Schloegel, 994 F.2d at 273 (quoting 29

C.F.R. § 2510.3–21(c)(1)(ii)(B)).

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      Beginning the analysis with the text, as courts must, the text of the regulation

indicates broad coverage over a multitude of relationships. Black’s Law Dictionary

describes an “agreement” as “[a] mutual understanding between two or more

persons about their relative rights and duties regarding past or future

performances; a manifestation of mutual assent by two or more persons.”

Agreement, Black’s Law Dictionary (11th ed. 2019). An arrangement can be a

“nonbinding settlement of a dispute or issue of mutual concern; a nonobligatory

compromise reached,” “an agreement between a debtor and his or her creditors to

modify the obligations to them.” Arrangement, Black’s Law Dictionary (11th ed.

2019). And an understanding is merely “[a]n agreement, esp. of an implied or tacit

nature.” Understanding, Black’s Law Dictionary (11th ed. 2019). While these

dictionary definitions are certainly not the sole basis for the meaning of words

within regulations, see Chamber II, 885 F.3d at 370 (quoting Varity Corp., 516

U.S. at 502), these definitions bolster ERISA’s liberally construed “fiduciary”

definition and common law roots to support a broad reading of what types of

mutual conduct are covered under this prong of the five-part test. See In re Enron

Corp. Sec., Derivative & ERISA Litig., 284 F. Supp. 2d 511, 544 (S.D. Tex. Sept. 30,

2003) (quoting Ariz. State Carpenters Pension Tr. Fund v. Citibank (Arizona), 125

F.3d 715, 720 (9th Cir. 1997)) (“Fiduciary status under ERISA is to be construed

liberally, consistent with ERISA’s policies and objectives.”).

      Moreover, the New Interpretation provides that “the regulation’s reference

to the advice [is on] ‘a’ primary basis rather than ‘the’ primary basis.” PTE 2020-

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02, 85 Fed. Reg. at 82808. Thus, if “the parties reasonably understand that the

advice is important to the Retirement Investor and could determine the outcome

of the investor’s decision, that is enough to satisfy the ‘primary basis’ requirement.”

Id. These provisions highlight that the parties must mutually agree, in some form

of a relationship, that the rollover recommendation is a key part of the retirement

investor’s decision to divest their Title I plan assets.

      ERISA’s fiduciary definition encompasses any party who has “control and

authority over the plan.” Chamber II, 885 F.3d at 377 (quoting Mertens, 508 U.S.

at 262). The New Interpretation purports to do just that—cover financial

professionals’ behaviors if it is determined that there is mutual agreement to have

authority or control that the advice will serve as the foundation for investment

decisions regarding Title I or Title II plans, provided that all other parts of the five-

part test are also satisfied. “[U]nilateral views or unilateral impressions of one

party or another are not dispositive” of a mutual agreement between parties. Oral

Tr. 50 (ECF No. 60); PTE 2020-02, 85 Fed. Reg. at 82808 (“The [DOL] also

declines in this exemption to set forth evidentiary burdens applied to establish a

mutual understanding, including any presumptions . . . . That question is better

left to development by the courts or, if necessary, future guidance or rulemaking.”).

The fiduciary relationship is a fact intensive inquiry on the functional effect of the

financial professional’s relationship with the retirement investor, and the New

Interpretation as written is not defective for promulgating a facts-and-



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circumstances analysis of any mutual agreement of the parties or primary basis of

the recommendation.

      The DOL notes that it “intends to consider the reasonable understanding of

each of the parties” and “consider[s] marketing materials in which Financial

Institutions and Investment Professionals hold themselves out as trusted advisers,

in evaluating the parties’ reasonable understandings with respect to the

relationship.” PTE 2020-02, 85 Fed. Reg. at 82806. The New Interpretation

focuses expressly on factual matter that demonstrates “whether those facts and

circumstances give rise to a mutual agreement, arrangement, or understanding.”

Id. at 82808. While the DOL rejects the contention that “written statements

disclaiming a mutual understanding . . . will not be determinative” in whether a

mutual arrangement is made, id. at 82808, the DOL also correctly points out that

the five-part test is commonly understood to be a functional analysis of fiduciary

status. Id. at 82809; Mertens, 508 U.S. at 262 (1993) (“ERISA, however, defines

‘fiduciary’ not in terms of formal trusteeship, but in functional terms of control and

authority over the plan. . . . Professional service providers . . . become liable for

damages when they cross the line from advisor to fiduciary.”). Functional

outcomes require a factual inquiry into not just the title or fee structure of the

transaction, but how the financial professional is interacting with the retirement

investor. The New Interpretation takes this functional analysis and looks to

whether the parties are de facto agreeing to partake in an advice relationship. Defs.’



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Br. 60 (noting that the PTE 2020-02’s mutual agreement prong now looks to

“consisten[cy] with the financial professional’s other behavior”).

      The DOL does not provide that a disclaimer is dispositive for good reason. It

would serve little purpose. Another section of ERISA states that “any provision in

an agreement or instrument which purports to relieve a fiduciary from

responsibility or liability for any responsibility, obligation, or duty under this part

shall be void as against public policy.” 29 U.S.C. § 1110(a). Thus, while a disclaimer

may ultimately shape the understandings of the parties, it cannot be dispositive—

public policy demands that when a financial professional acts in a relationship of

trust and confidence with retirement investors, the financial professional is a

fiduciary.

      Plaintiffs argue that this facts-and-circumstances analysis in the New

Interpretation “attempt[s] to rewrite the five-part test sub silentio.” Defs.’ Br. 29;

see Resp. 35. But this improperly focuses on an assumption that “if the rollover

recommendation is accepted, the DOL will assert the advice was obviously relied

on.” Resp. 35. Plaintiffs again retreat to their primary complaint that the test is

“circular” because “any broker or agent who recommends a rollover transaction

will be a fiduciary if there is an ongoing or expected relationship with the client.”

Resp. 35. Plaintiffs argue that the DOL will start with the presumption that a

relationship is fiduciary in nature. Pls.’ Br. 26-27. This position is speculative at

best. Plaintiffs’ posited presumption is nowhere in PTE 2020-02, and the DOL

represented at oral argument that it is unaware of whether there has been any

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enforcement action under PTE 2020-02. Oral Tr. 69. Plaintiffs do not cite any

unlawful enforcement either. There is no evidence that these prongs have been

used to presume financial professionals who act as mere salespeople are engaged

in fiduciary relationships.

      Further, the mutual agreement and primary basis prongs may be easy to

satisfy under the DOL’s present application, but they are constrained by the other

three prongs of the five-part test, regardless of the New Interpretation’s facts-and-

circumstances analysis’s applicability to initial rollover recommendations. The

mutual agreement prong ensures that an advice relationship exists, and the

primary basis prong, coupled with the remaining three prongs, ensures that such

a relationship is one of trust and confidence.

      The New Interpretation, as a whole, attempts to embody the Fifth Circuit’s

Chamber of Commerce mandate, and while errors persist, the New Interpretation

of the mutual agreement or primary basis prongs are not one of them. Complaining

that one beam is insufficient to support a house while disregarding that four others

are in place to support it overlooks the holistic review that the DOL has

implemented to review fiduciary status in the context of rollovers. Accordingly, the

New Interpretation’s mutual agreement or primary basis analysis is not an

arbitrary and capricious interpretation of those prongs of the DOL’s five-part test.




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               iii.   The New Interpretation does not conflict with the any other
                      elements of the 1975 Five-Part Test.

      Plaintiffs also attack the New Interpretation’s final prongs of the five-part

test, stating that “the New Interpretation addresses these elements . . . in a way

that fails to recognize the foregoing distinctions between salespeople and fiduciary

investment advisers.” Pls.’ Br. 30. The DOL emphasizes that “all elements of the

five-part test must be satisfied for a particular recommendation to be considered

fiduciary investment advice,” Defs.’ Br. 61, and that the New Interpretation of these

final prongs “further distinguish ERISA fiduciary advice from mere sales activity,”

Reply 23.

      The remaining prongs of the five-part test require that advice be given

regarding advice or recommendations as to the investing in, purchasing, or selling

securities or other property and that the adviser will render individualized

investment advice to the plan. 29 C.F.R. § 2510.3–21(c) (Title I); see 26 C.F.R.

§ 54.4975–9(c) (Title II). Moreover, the New Interpretation provides that:

      The Department also recognizes that the requirement for
      “individualized” advice is separate from the “primary basis”
      requirement, but this does not mean that the individualized nature of
      a particular advice recommendation is irrelevant to whether the
      parties understood that the advice could serve as a “primary basis” for
      investment decisions.

Id. Individualized advice must be “based on the particular needs of the plan

regarding such matters as, among other things, investment policies or strategy,

overall portfolio composition, or diversification of plan investments.” 29 C.F.R.

§ 2510.3–21(c)(1). Further clarifying its position, the preamble includes that “Hire

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Me” communications12 would only be fiduciary advice if it is “accompanied by an

investment recommendation, such as a recommendation to invest in a particular

fund or security, [and] . . . all five parts of the [five-part] test were satisfied.” Id. at

82809.

       Notably, neither side cites any case law regarding how courts have

previously interpreted these two prongs of the five-part test. Plaintiffs baldly assert

that this new interpretive methodology of reviewing the facts and circumstances

surrounding the rollover recommendation is outside “the normal function of

stockbrokers and insurance agents engaged in sales to individual customers.” Pls.’

Br. 30. In their view, the five-part test should be construed not to “advice incidental

to a sale but advice regarding the investor’s portfolio.” Resp. 36 & n.10. This

argument mischaracterizes the New Interpretation’s targeted conduct. Nothing in

the five-part test or ERISA expressly excludes rollovers from the DOL’s purview

under Title I or Title II (viewed separately), and mere sales conduct regarding

rollovers would be excluded as it would not be on a regular basis or individualized

advice to the plan regarding the retirement investor’s portfolio. Indeed, the crux of




12A “Hire Me” communication is one where a financial professional “engage[s] in
introductory conversations to promote their advisory services to Retirement
Investors.” PTE 2020-02, 85 Fed. Reg. at 82809. For example, the DOL provides
that the following, standing alone, would not be considered investment advice: “I
have been working with our mutual friend, Bob, for fifteen years, helping him to
invest for his kids’ college tuition and for retirement. I would love to talk with you
about the types of services my firm offers, and how I could help you meet your
goals. Here is my business card. Please give me a call on Monday so that we can
discuss.” Id.
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Plaintiffs’ complaint seems to be simply the fact that rollovers are now reviewable

as potential fiduciary relationships. But this inclusion is proper in certain

circumstances where a salesperson establishes a relationship of trust and

confidence as to Title I plan investors through trusted advice to financial

professionals. The DOL expressly states that the New Interpretation only covers

those that “giv[e] and receiv[e] individualized advice—especially advice pursuant

to the SEC and NAIC best interest standards—can reasonably expect that the

advice may be a basis for decision.” Reply 24.

      The New Interpretation applied to the final two prongs properly bolsters the

five-part test of whether there is a degree of authority, control, trust, and

confidence given to the financial professional. Giving a recommendation to an

investor to sell their life savings is surely an investment recommendation, and it

relates directly to individualized decisions. These recommendations may not all be

under the fiduciary label, unless the financial professional satisfies each element

of the unambiguous five-part test. Accordingly, the New Interpretation’s facts-and-

circumstances analysis of the final two prongs is consistent with the five-part test

and is not arbitrary and capricious.

IV.   Remedies

      After finding that the DOL exceeded its statutory authority in promulgating

the New Interpretation to the extent it impermissibly conflates the distinction of

fiduciary status outlined in ERISA between Title I and Title II plans and that the

New Interpretation is an arbitrary and capricious interpretation of the DOL’s own

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policies to the extent it conflicts with the agency’s own interpretation of the

“regular basis” prong of the 1975 Five-Part Regulation, the Court must determine

the appropriate remedy.

          A. The Court should only vacate the portions of PTE 2020-02’s text and
             preamble that allow consideration of Title II investment advice
             relationships when determining Title I fiduciary status.

      Plaintiffs request vacatur of the rule in toto. Pls.’ Br. 47. The DOL insists that

any relief “should be appropriately tailored and limited to the Plaintiffs before the

court.”13 Defs.’ Br. 73.

      The scope of judicial review under the APA is limited “[t]o the extent

necessary to the decision and when presented,” and the APA directs that the

“reviewing court shall . . . hold unlawful and set aside agency action, findings, and

conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). While “vacatur of an

agency action is the default rule” in the Fifth Circuit, “[a] plaintiff’s remedy must

be tailored to redress the plaintiff’s particular injury.” Cargill, 57 F.4th at 472

(citations omitted); see Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018); Franciscan

All., Inc. v. Becerra, 47 F.4th 368 374-75 (5th Cir. 2022) (“Vacatur is the only

statutorily prescribed remedy for a successful APA challenge to a regulation.”).

Courts should set aside only those parts of final rules that are found to be in excess



13 The DOL  argues that the APA does not create a novel remedy of universal vacatur
in Section 706. Reply 31. Although Plaintiffs contend this argument “clearly [has]
been waived,” Oral Tr. 38, the DOL has repeatedly argued that “any relief” should
be limited to the Plaintiffs, including at oral argument. Oral Tr. 37-38, 68-69.
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of statutory authority or arbitrary and capricious. See Sw. Elec. Power Co. v. U.S.

Env’t Prot. Agency, 920 F.3d 999, 1022 (5th Cir. 2010); Catholic Soc. Serv. v.

Shalala, 12 F.3d 1123, 1127-28 (D.C. Cir. 1994) (“The APA definition of ‘agency

action’ obliges reviewing courts to carefully limit their review . . . .”). When a rule

“may sensibly be given independent life” because only a part of a rule is invalid, the

court should only set aside the invalid portion. Catholic Soc. Serv., 12 F.3d at 1128;

cf. United States v. Patel, 2022 WL 17246941, at *1 n.1 (5th Cir. 2022) (noting that

“the doctrine of judicial restraint dictates that [courts] decide cases on the best and

narrowest grounds available”).

      When a party prevails on an APA challenge, a court may either remand with

vacatur or remand without vacatur. The Fifth Circuit directs courts to consider two

factors to determine whether remand without vacatur is warranted: “(1) the

seriousness of the deficiencies of the action, that is how likely the agency will be

able to justify its decision on remand; and (2) the disruptive consequences of the

vacatur.” Texas v. United States, 50 F.4th 498, 529 (5th Cir. 2022); see Allina

Health Servs. v. Sebelius, 746 F.3d 1102, 1110 (D.C. Cir. 2014). Remand without

vacatur is only appropriate when there is “at least a serious possibility that the

agency will be able to substantiate its decision given an opportunity to do so.”

Texas, 50 F.4th at 529.

      The DOL begins its argument by stating that even if vacatur is warranted,

relief should be that the action is “set aside” only as to the Plaintiffs before the

Court and that “[i]t cannot be that the first district court decision about any agency

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regulation or action inherently has universal effect.” Reply 31; Defs.’ Br. 72. In the

DOL’s view, this would require standing to be “extrapolate[d]” to other parties not

before the court, even those “who are subject to other legal regimes” and who face

different state compliance burdens which may affect standing. Oral Tr. 68-69.

Plaintiffs respond that “Fifth Circuit authority is clear,” bluntly stating that “if the

Court vacates[,] . . . the rule is gone.” Oral Tr. 39.

      While Fifth Circuit authority may be clear, the Court acknowledges that

questions exist regarding the limits of federal jurisdiction in granting universal

vacatur of agency rules. In his concurrence in United States v. Texas, Justice

Gorsuch suggested that “[t]here are many reasons to think § 706(2) uses ‘set aside’

to mean ‘disregard’ rather than ‘vacate.’” 599 U.S. __ (2023), 2023 WL 4139000,

at *14. By a single plaintiff’s request for vacatur having universal effect, “[o]rdinary

joinder and class-action procedures would become essentially irrelevant in

administrative litigation.” Id. This echoes the DOL’s assertions that “many jurists

have questioned the wisdom and even constitutionality of nationwide injunctions,”

Defs.’ Br. 72, and that “Congress . . . did not intend to create a novel remedy of

universal vacatur in Section 706,” Reply 31. In sum, the DOL agrees with the

proposal that allowance for universal relief, “whether by way of injunction or

vacatur, strains [respect for] separation of powers.” Texas, 599 U.S. at __.

      Whether this will be the prevailing viewpoint on the breadth of § 706(2) is

not the prerogative of this Court to decide. This Court is not free to ignore Fifth

Circuit precedent. As another court in this District recently observed, “[p]recedent

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undermines the defendants’ position that vacatur should be limited to the

plaintiffs.” Texas v. Becerra, 2023 WL 2754350, at *30 (N.D. Tex. Mar. 31, 2023).

The Fifth Circuit has affirmed a holding or held that vacatur of a rule on a

nationwide basis is the proper effect for vacatur of an unlawful agency action. See

id. (discussing precedent); Data Mktg. P’ship, 45 F.4th 846, 859-60 (holding that

§ 706 nullifies and revokes unlawful agency action). While the DOL is correct that

potential plaintiffs’ standing may be affected by their state’s compliance burdens,

this does not change the analysis that the DOL has exceeded its statutory authority

with respect to the New Interpretation. Furthermore, the United States District

Court for the Middle District of Florida recently vacated the policy referenced in

FAQ 7 in the New Fiduciary Rule Advice Exemption FAQs. See generally ASA,

2023 WL 1967573. This “first district court decision” has nationwide effect and was

not limited only to the plaintiffs who brought that case. Accordingly, the Court

should not stray from this Circuit’s precedent regarding universal vacatur.

      The New Interpretation is inconsistent with ERISA and the DOL’s own

regulations but only to a narrow extent related to the relationships that may be

considered when determining fiduciary status. As discussed, the New

Interpretation focuses directly on whether a relationship of trust and confidence

has been established between a financial professional and a retirement investor

when the investor is engaging in a rollover transaction. The New Interpretation’s

allowance of review that a single rollover “can be the beginning of an ongoing

advice relationship” to Title II plans, PTE 2020-02, 85 Fed. Reg. at 82806,

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inclusion of potential “future, ongoing relationships” to Title II plans, id. at 82805,

and conclusion that “an ongoing advisory relationship spanning both the Title I

Plan and the IRA satisfies the regular basis prong,” id. at 82807, exceed the DOL’s

authority under ERISA and constitute arbitrary and capricious interpretations of

the five-part test. There is no realistic possibility that the DOL would be able to

substantiate this unlawful action if the Court remanded without vacatur. As noted,

Congress carefully delineated between the two types of “plans,” and the DOL may

not use both Title I and Title II relationships to determine Title I fiduciary status.

Further, any decision to remand with vacatur would not be disruptive as there is

nothing in the record to show that the New Interpretation’s provisions have been

enforced against any individual. Oral Tr. 69; see Allina Health Servs., 746 F.3d at

1110-10 (“This is not a case in which the ‘egg has been scrambled,’ and it is too late

to reverse course.”). Further, there are no “settled transactions” that may be in

jeopardy due to vacatur. See Am. Sec. Ass’n, 2023 WL 1967573, at *22.

      As to scope, it appears that the New Interpretation can stand alone without

these provisions—covering those financial professionals who work regularly with

a specific Title I plan and also give rollover recommendations to that same Title I

plan in a fiduciary manner (or working regularly with a Title II plan and giving

advice to that same Title II plan). The New Interpretation’s facts-and-

circumstances analysis is consistent with ERISA’s text and the five-part test when

applied to a specific financial professional’s relationship with a specific plan. Only

removing the unlawful portion of the New Interpretation does not change its

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character or judicially rewrite the action. While this might limit the New

Interpretation’s impact, courts must decide the cases on the best and narrowest

grounds possible. POET Biorefining, LLC v. EPA, 970 F.3d 392, 414 (D.C. Cir.

2020) (“[T]he ‘arbitrary and capricious’ standard is narrow and does not permit

[the court] to substitute [its] policy judgment for that of [the agency.]” (quoting

Maryland v. EPA, 958 F.3d 1185, 1210 (D.C. Cir. 2020) (per curiam)).

      This crafted relief is reinforced by the Middle District of Florida in the ASA

case. For similar reasons, the Florida court found that policies included in an FAQ

that allowed for the regular basis prong to be satisfied through a review of

combined Title I and Title II plan relationships were arbitrary and capricious. ASA,

2023 WL 1967573, at *13-19. Yet, the ASA decision tailored the remand with

vacatur of the policy only to the specific terms in one FAQ, while upholding other

portions of the rule because these latter portions were within the scope of ERISA

and the five-part test. Id. at *20-21. While the Florida court did not conduct a full

review of PTE 2020-02, this demonstrates a likelihood that the New Interpretation

is able to have a meaningful effect without vacatur of the entire rule. Indeed, the

DOL rejects Plaintiffs’ suggestion that the ASA decision—and the DOL’s choice not

to appeal that ruling—renders the New Interpretation unworkable. See Suppl.

Resp. (ECF No. 68). Thus, the Court should vacate only those portions of the

preamble of PTE 2020-02 and PTE 2020-02 that expand the view of a Title I

fiduciary’s status based on Title II plan relationships for the purposes of

determining whether a financial professional is an investment advice fiduciary.

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          B. A permanent injunction is not warranted.

      Plaintiffs also seek a permanent injunction that would enjoin the DOL from

implementing, applying, or taking any action of any type under the New

Interpretation “anywhere within the DOL’s jurisdiction.” Pls.’ Br. 47. The DOL asks

this Court to limit any injunctive relief, if granted, to only the Plaintiffs before the

Court. Defs.’ Br. 72-73.

      An injunction is a “drastic and extraordinary remedy, which should not be

granted as a matter of course.” Monsanto Co. v. Geertson Seed Farms, 561 U.S.

139, 165 (2010). “A party seeking a permanent injunction must show: (1) that is

has succeeded on the merits; (2) that a failure to grant the injunction will result in

irreparable injury; (3) that said injury outweighs any damage that the injunction

will cause the opposing party; and (4) that the injunction will not disserve the

public interest.” Valentine v. Collier, 993 F.3d 270, 280 (5th Cir. 2021) (citing VRC

LLC v. City of Dallas, 460 F.3d 607, 611 (5th Cir. 2006)). Further, “[a] permanent

injunction is appropriate only if a defendant’s past conduct gives rise to an

inference that, in light of present circumstances, there is a reasonable likelihood of

future transgressions.” Id. (quoting SEC v. Life Partners Holdings, Inc., 854 F.3d

765, 784 (5th Cir. 2017)). The mere possibility of injury is insufficient, “[p]laintiffs

must ‘demonstrate that irreparable injury is likely in the absence of an injunction.”

Franciscan All., Inc. v. Becerra, 553 F. Supp. 3d 361, 376 (N.D. Tex. 2021) (quoting

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)). “If a less drastic

remedy (such as partial . . . vacatur of [an agency’s] decision) [is] sufficient to

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redress [a party’s] injury, no recourse to the additional and extraordinary relief of

an injunction [is] warranted.” Monsanto Co., 561 U.S. at 165-66 (citing

Weinberger v. Romero-Barcelo, 456 U.S. 305, 311-12 (1982)).

      Plaintiffs point out that an injunction versus a vacatur of agency action is

“sort of an academic point because the issue of vacating the rule, obviously, has

effect beyond just these Plaintiffs.” Oral Tr. 37 (ECF No. 60). The effects may

indeed be similar, but vacatur is “a less drastic remedy” than an injunction. Texas,

40 F.4th at 219. “[A] vacatur does nothing but re-establish the status quo absent

the unlawful agency action” and it “neither compels nor restrains further agency

decision-making.” Id. at 220. “Vacatur operates on the legal status of a rule,

causing the rule to lose binding force. Injunctions, including universal injunctions

against enforcement, operate on the defendant by imposing a new duty.” John

Harrison, Vacatur of Rules Under the Administrative Procedure Act, 40 Y.J. Reg.

Bull. 119, 119-20 (2023). These differences show that determining whether vacatur

and/or an injunction is appropriate meaningfully changes the analysis of remedies

and the potential considerations for each type.

      The Court does not find that imposing any new duties or restraining the

DOL’s authority further is necessary after vacatur of the unlawful provisions. While

Plaintiffs have demonstrated success on the merits, the failure to grant an

injunction will not result in irreparable injury. Vacatur of the unlawful portions of

the New Interpretation is a sufficient, tailored remedy for Plaintiffs as the vacatur

will negate any threat of injurious actions by the DOL. Even Plaintiffs themselves

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tacitly concede that an injunction is redundant, stating that “once [the New

Interpretation] has been vacated under the APA it can no longer be enforced by the

DOL against anyone.” Resp. 51. Accordingly, the Court should find that an

injunction is not warranted.

                               Recommendation

      For the reasons stated, the Court should DENY Defendants’ Motion to

Dismiss, and GRANT in part and DENY in part Plaintiffs’ and Defendants’ Motions

for Summary Judgment. The Court should vacate the portions of PTE 2020-02’s

text and preamble that allow consideration of Title II investment advice

relationships when determining Title I fiduciary status, including the New

Interpretation’s (i) allowance of review that a single rollover “can be the beginning

of an ongoing advice relationship” to Title II plans, PTE 2020-02, 85 Fed. Reg. at

82806; (ii) inclusion of potential “future, ongoing relationships” to Title II plans,

id. at 82805; and (iii) conclusion that “an ongoing advisory relationship spanning

both the Title I Plan and the IRA satisfies the regular basis prong,” id. at 82807;

these provisions exceed the DOL’s authority under ERISA and constitute arbitrary

and capricious interpretations of the five-part test to determine whether financial

professionals are acting as “investment advice fiduciaries.”

      SO RECOMMENDED.

      June 30, 2023.

                                       ______________________________
                                       REBECCA RUTHERFORD
                                       UNITED STATES MAGISTRATE JUDGE

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                  INSTRUCTIONS FOR SERVICE AND
                 NOTICE OF RIGHT TO APPEAL/OBJECT

       A copy of this report and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of this report and
recommendation must file specific written objections within 14 days after being
served with a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). To be specific,
an objection must identify the specific finding or recommendation to which
objection is made, state the basis for the objection, and specify the place in the
magistrate judge’s report and recommendation where the disputed determination
is found. An objection that merely incorporates by reference or refers to the
briefing before the magistrate judge is not specific. Failure to file specific written
objections will bar the aggrieved party from appealing the factual findings and legal
conclusions of the magistrate judge that are accepted or adopted by the district
court, except upon grounds of plain error. See Douglass v. United Servs. Auto.
Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).




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